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6

7

8                         UNITED STATES DISTRICT COURT

9                       CENTRAL DISTRICT OF CALIFORNIA

10    INTERMARKETING MEDIA, LLC )                   No. 8:20-cv-00889
      et al,                    )
11                              )                   NOTICE OF MOTION AND
12
             Plaintiffs,        )                   MOTION TO DISMISS
                                )                   PURSUANT TO RULE 12(b)(1)
13                  vs.         )                   OR, IN THE ALTERNATIVE,
                                )                   12(b)(6)
14
      Brent David Barlow et al, )
15                              )
             Defendants.        )
16                              )
17         TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
18         PLEASE TAKE NOTICE that on December 11, 2020, at 10:30 a.m. in
19   Courtroom 10A in the United States Courthouse located at 411 West 4th Street,
20   Santa Ana, CA 92701-4516, the Honorable Josephine L. Staton presiding,
21   defendant Brent David Barlow (“Barlow”) will move pursuant to Fed. R. Civ. P.
22   12(b)(1) to dismiss the Amended Complaint For Injunctive Relief And Damages
23   (Doc. 9, the “Amended Complaint”) of plaintiffs Intermarketing Media, LLC et al
24   for plaintiffs’ lack of standing and the Court’s lack of subject-matter jurisdiction
25
                                                I
                NOTICE OF MOTION AND MOTION TO DISMISS PURSUANT TO
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1    or, in the alternative, 12(b)(6) for plaintiffs’ failure to state a claim upon which
2    relief can be granted.
3          This Motion is based on this Notice of Motion and attached Memorandum of
4    Points and Authorities, on all judicially noticeable documents, on all pleadings and
5    papers on file in this action, and on other such matters and arguments as may be
6    presented to this Court in connection with this Motion.
7          This Motion is made following the written request of the moving party sent
8    on May 17, 2020.
9

10   Dated this 28th day of July 2020         Respectfully submitted,
11                                            s/ Brent D. Barlow                    .
12                                            Brent D. Barlow, Esq. (Bar No. 168645)
                                              Email: brent@barlowlegal.com
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                                              Attorney for Defendant
16                                            Brent David Barlow, In Propria Persona
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                                                II
                NOTICE OF MOTION AND MOTION TO DISMISS PURSUANT TO
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1                                     TABLE OF AUTHORITIES
2    CASES
3    Albertson v. Raboff
4          46 Cal.2d 375, 295 P.2d 405 (1956) ................................................... 19
5    Associated Gen’l Contractors v. Metro. Water Dist.
6          159 F.3d 1178 (9th Cir. 1998) ............................................................. 4
7    Briscoe v. La Hue
8          460 U.S. 325, 103 S.Ct. 1108, 75 L.Ed.2d 96 (1983) ....................... 18
9    Caira v. Offner
10         126 Cal.App.4th 12, 24 Cal.Rptr.3d 233 (2005) ............................... 22
11   Carney v. Santa Cruz Women Against Rape
12         221 Cal.App.3d 1009, 271 Cal.Rptr. 30 (1990) ................................ 22
13   Colwell v. Dep't of Health & Human Servs.
14         558 F.3d 1112 (9th Cir. 2009) .............................................................. 3
15   Dickerson v. Superior Court
16         135 Cal.App.3d 93, 185 Cal.Rptr. 97 (1982) .................................... 18
17   Hasler v. Howard
18         120 Cal.App.4th 1023, 16 Cal.Rptr.3d 217 (2004) ........................... 22
19   HLC Properties, Ltd. v. Superior Court
20         35 Cal.4th 54, 24 Cal.Rptr. 3d 199, 105 P.3d 560 (2005) ................. 18
21   In re Grand Jury Investigation
22         974 F.2d 1068 (9th Cir. 1992) ............................................................ 19
23   Kashian v. Harriman
24         98 Cal.App.4th 892, 120 Cal.Rptr.2d 576 (2002) ............................. 18
25
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1    Kendall v. Visa U.S.A., Inc.
2          518 F.3d 1042 (9th Cir. 2008) ............................................................. 4
3    Kingman Reef Atoll Invs., LLC v. United States
4          541 F.3d 1189 (9th Cir. 2008) .............................................................. 3
5    Leeson v. Transamerica Disability Income Plan
6          671 F.3d 969 (9th Cir. 2012) ................................................................ 3
7    Miranda v. Reno
8          238 F.3d 1156 (9th Cir. 2001) .............................................................. 3
9    Padilla v. Yoo
10         678 F.3d 748 (9th Cir. 2012) ............................................................... 4
11   Roberts v. City of Palmdale
12         5 Cal.4th 363, 20 Cal.Rptr.2d 330, 853 P.2d 496 (1993) .................. 18
13   Saeta v. Superior Court
14         117 Cal.App.4th 261, 11 Cal.Rptr.3d 610 (2004) ............................. 21
15   Silberg v. Anderson
16         50 Cal.3d 205, 266 Cal.Rptr. 638, 786 P.2d 365 (1990) ............. 18, 19
17   St. Clair v. City of Chico
18         880 F.2d 199 (9th Cir. 1989) ................................................................ 3
19   Trammel v. United States
20         445 U.S. 40, 100 S.Ct. 906, 63 L.Ed. 2d 186 (1980) .................. 18, 19
21   Travelers Casualty and Surety Co. v. Superior Court,
22         126 Cal.App.4th 1131, 24 Cal.Rptr.3d 7511 (2005) ......................... 21
23   Upjohn Co. v. United States
24         449 U.S. 383, 101 S.Ct. 677, 66 L.Ed.2d 584 (1981) ........................ 19
25
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                NOTICE OF MOTION AND MOTION TO DISMISS PURSUANT TO
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1    Watson v. Weeks
2             436 F.3d 1152 (9th Cir. 2006) ............................................................. 4
3    Welfare Rights Organization v. Crisan
4             33 Cal.3d 766, 190 Cal. Rptr. 919, 661 P.2d 1073 (1983) ................. 17
5    White v. Lee
6             227 F.3d 1214 (9th Cir. 2000) .............................................................. 3
7    STATUTES
8    15 U.S.C. § 1602(f) ....................................................................................... 14
9    18 U.S.C. § 4 ................................................................................................. 19
10   Cal Bus & Prof Code § 6068 ........................................................................ 20
11   Cal Evid Code § 1115 ................................................................................... 21
12   Cal Evid Code § 1152 ............................................................................. 21, 22
13   Cal Evid Code § 1154 ............................................................................. 21, 22
14   Fed. R. Civ. P. 12(b)(1)................................................................................... 3
15   Fed. R. Civ. P. 12(b)(6)................................................................................... 4
16   Fed. R. Civ. P. 501 ........................................................................................ 17
17   Fed. R. Evid. 408 .......................................................................................... 21
18   OTHER AUTHORITIES
19   8 John Henry Wigmore, Evidence § 2290 (John T. McNaughton, ed. 1961)19
20   ABA Canons of Professional Ethics, Canon 15 (1908) ................................ 20
21   American Bar Association (“ABA”) Model Rule 1.3 (Diligence) ............... 20
22   Ca. Practice Guide Civil Trials and Evidence, Rutter Group, 8:2831.20 ..... 21
23   Cal. Law Revision Com. com., West's Ann.Cal.Evid.Code, foll. § 911 ...... 18
24   Cal. Law Revision Com. com., West's Ann.Cal.Evid.Code, foll. § 1154 .... 22
25   Cal. Rules of Prof. Conduct, Rule 1.3 Diligence .......................................... 20
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1                                      MEMORANDUM
2                                         OVERVIEW
3          Plaintiffs complain because they got caught with their hand in the cookie jar.
4    The characterization of defendants’ actions as a conspiracy to extort is an attempt
5    to cast blame away from plaintiffs’ own wrongful conduct.
6          The central theme of this dispute is the timeshare contract.
7          Each defendant who sought Resort Advisory Group’s assistance was led to
8    believe that a timeshare contract creates an enforceable obligation by delivering
9    something of value to the purchaser. However, this is not true: The “value” and
10   “credit” purportedly delivered and extended are illusory and but notions in an
11   artifice. Plaintiffs tacitly and overtly participate in creating the illusion of a loan of
12   credit from the timeshare developer, but, as proven below, there is no such loan
13   and the timeshare contract is void ab initio for failure of consideration.
14         Plaintiffs’ business relies upon identifying disgruntled timeshare customers
15   and convincing them that plaintiffs can “terminate/transfer” their timeshare
16   contract. Holding themselves out to the public as professionals with specialized
17   knowledge, and having been informed by defendants of the actual nature of the
18   timeshare contract, plaintiffs knew or should have known it is impossible to deliver
19   the services that plaintiffs offer and sell. Defendants at all times acted in good
20   faith, provided plaintiffs with commercially reasonable notice, and allowed
21   plaintiffs every opportunity to act ethically and correct any mistake plaintiffs may
22   have made.
23         Nonetheless, plaintiffs come to this Court complaining of an avoidable
24   condition they brought onto themselves. For the reasons stated below and upon the
25   evidence available in this case, defendants request the Court (1) find that each
                                         1
            MEMORANDUM IN SUPPORT OF MOTION TO DISMISS PURSUANT TO
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1    timeshare contract between a timeshare company and a defendant is void for
2    failure of consideration; (2) that each of plaintiffs’ contracts with a defendant is
3    void for failure of consideration (nothing in the subject matter) and no meeting of
4    the minds; and (3) dismiss plaintiffs’ complaint for lack of standing.
5                                     INTRODUCTION
6          Defendants John Pressney, Pamela Pressney, Herman Abel, Debora Abel,
7    Morris Hannah, Virginia Hanna, Lee Harris Turk, Bernardo Bettinelli, Carol
8    Bettinelli, Lari Castle, Gilbert Castro, Eva Castro, Paul Martinez, Renee Martinez,
9    Glenn Perley, and Connie Perley are individually a “Defendant” and collectively
10   the “Defendants.”
11         Defendants with the same surname are referred to collectively by said
12   surname.
13         Defendants and Barlow are all new members of Cooperative Dispute
14   Resolution Society (“CDRS”), a private association which, to Barlow’s
15   knowledge, has no offices, address, telephone, bank account, executives, or
16   managers, only founding members—none of whom is Barlow or a Defendant—and
17   members.
18         Ultimate origin of all claims in the Amended Complaint is the subject of
19   plaintiff Resort Advisory Group’s alleged contract with each Defendant: what
20   appears to be a valid and enforceable consumer-credit contract between a
21   timeshare developer (“Developer”) and a Defendant.
22         Plaintiffs allege and assert existence of a valid contract between (1) a
23   Developer and each Defendant, (2) Resort Advisory Group and each Defendant,
24   and (3) Resort Advisory Group and Barlow, but are incapable of producing
25   admissible evidence to support fact thereof.
                                                2
                NOTICE OF MOTION AND MOTION TO DISMISS PURSUANT TO
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1                                    LEGAL STANDARD
2          Pursuant to Fed. R. Civ. P. 12(b)(1), a district court must dismiss an action if
3    it lacks jurisdiction over the subject matter of the suit. See Fed. R. Civ. P.
4    12(b)(1). “Subject matter jurisdiction can never be forfeited or waived and federal
5    courts have a continuing independent obligation to determine whether subject-
6    matter jurisdiction exists.” Leeson v. Transamerica Disability Income Plan, 671
7    F.3d 969, 975 n.12 (9th Cir. 2012) (internal quotation marks and citations omitted).
8    On a motion to dismiss for lack of subject matter jurisdiction under Rule 12(b)(1),
9    it is the plaintiff’s burden to establish the existence of subject matter jurisdiction.
10   Kingman Reef Atoll Invs., LLC v. United States, 541 F.3d 1189, 1197 (9th Cir.
11   2008).
12         A challenge to the court’s subject matter jurisdiction under Rule 12(b)(1)
13   may be a facial challenge or a factual challenge. See White v. Lee, 227 F.3d 1214,
14   1242 (9th Cir. 2000). In evaluating a facial challenge, the court accepts the factual
15   allegations in the complaint as true. See Miranda v. Reno, 238 F.3d 1156, 1157 n.1
16   (9th Cir. 2001). Where a defendant brings a factual challenge, on the other hand,
17   “a court may look beyond the complaint to matters of public record without having
18   to convert the motion into one for summary judgment.” White, 227 F.3d at 1242
19   (citation omitted). Once the moving party has made a factual challenge by offering
20   affidavits or other evidence to dispute the allegations in the complaint, the party
21   opposing the motion must “present affidavits or any other evidence necessary to
22   satisfy its burden of establishing that the court, in fact, possesses subject matter
23   jurisdiction.” Colwell v. Dep’t of Health & Human Servs., 558 F.3d 1112, 1121
24   (9th Cir. 2009) (quoting St. Clair v. City of Chico, 880 F.2d 199, 201 (9th Cir.
25   1989)).
                                                 3
                NOTICE OF MOTION AND MOTION TO DISMISS PURSUANT TO
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1          Rule 12(b)(6), in turn, provides for dismissal of an action for “failure to state
2    a claim upon which relief can be granted.” See Fed. R. Civ. P. 12(b)(6). For a
3    12(b)(6) motion, “all well-pleaded allegations of material fact [are accepted as
4    true] and construe[d] in the light most favorable to the non-moving party.” Padilla
5    v. Yoo, 678 F.3d 748, 757 (9th Cir. 2012). “[C]onclusory allegations of law and
6    unwarranted inferences” are insufficient. Associated Gen’l Contractors v. Metro.
7    Water Dist., 159 F.3d 1178, 1181 (9th Cir. 1998). A complaint must state
8    “evidentiary facts which, if true, will prove [the claim],” Kendall v. Visa U.S.A.,
9    Inc., 518 F.3d 1042, 1047 (9th Cir. 2008), otherwise it will be dismissed. See
10   Watson v. Weeks, 436 F.3d 1152, 1157 (9th Cir. 2006).
11         Plaintiffs are unable to establish this Court’s jurisdiction over this case and
12   have failed to advance a claim upon which relief can be granted. Therefore, this
13   Motion to Dismiss should be granted and plaintiffs’ claims dismissed.
14                        STATEMENT OF MATERIAL FACTS
15         Each Defendant appeared to enter into one or more timeshare contracts with
16   one or more of the following Developers: Diamond Resorts International, Inc.
17   (“DRII”); (2) Wyndham Vacation Ownership, Inc. (“WVOI”),1 (3) Hilton Resorts
18   Corporation, and (4) Welk Resorts Group, Inc.
19         Each timeshare contract (“Alleged Timeshare Contract”) sets forth terms and
20   conditions for a Defendant to purchase, with a loan of credit from the Developer
21   payable in monthly installments, “a form of right-to-use time share interest in a
22

23
           1
24            WVOI is the parent company of two Developers with whom at least one
     Defendant appears to have entered into a timeshare contract: Wyndham Vacation
25   Resorts, Inc. and Wyndham Resort Development Corporation.
                                               4
                NOTICE OF MOTION AND MOTION TO DISMISS PURSUANT TO
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1    time share use plan” (Exhibit G, infra) and Defendant appears to sign and tender a
2    promissory instrument in exchange therefor, with respect to which Developer
3    issues a standard Truth In Lending Disclosure Statement (“TILDS”) or the
4    equivalent thereof, a true and correct copy of a TILDS for Defendant Pressney
5    from Developer DRII, which agrees in substance with that of every other
6    Defendant, is hereby incorporated herein by reference and attached hereto as
7    Exhibit A.
8          At varying points thereafter, each Defendant either became dissatisfied with
9    the Alleged Timeshare Contract or appeared to default on payments required
10   thereunder or both and came to know of and appear to enter into contract with
11   plaintiff Resort Advisory Group.
12         The alleged Resort Advisory Group contract with each Defendant comprises
13   a Services Agreement and STATEMENT OF UNDERSTANDING (collectively the
14   “Alleged RAG Contract”), a true and correct copy of which for Defendant Abel,
15   which agrees in substance with and is essentially identical to the Alleged RAG
16   Contract for every other Defendant, is hereby incorporated herein by reference and
17   attached hereto as Exhibit B.
18         The Alleged RAG Contract provides in paragraph 1a on page 1 of the
19   Services Agreement that “RA-Group will terminate/transfer Your current
20   Timeshare.”
21         In or about January 2017, Barlow and Resort Advisory Group agree that (1)
22   Barlow will review and evaluate certain Resort Advisory Group customer files and
23   Resort Advisory Group will pay for Barlow’s services, and (2) some of the Resort
24   Advisory Group customers whose matters Barlow reviews will engage Barlow
25   under a separate written retainer / attorney-client agreement whereby Barlow
                                             5
                  NOTICE OF MOTION AND MOTION TO DISMISS PURSUANT TO
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1    agrees to “…take every pre-litigation step required to seek a withdrawal from
2    and/or cancellation…” a timeshare contract (see Exhibit H, Affidavit of Brent
3    David Barlow, ¶¶ 5, 6).
4          By happenstance some two years ago, Barlow came to speak with a fellow
5    who goes by “Dan” whom Barlow later would learn is a founding member of
6    CDRS and with whom Barlow ultimately shared Barlow’s consternation with the
7    timeshare industry and Developers and asked for Dan’s evaluation of one of
8    Defendant Pressney’s two Alleged Timeshare Contracts with Developer DRII (id.
9    at ¶¶ 17-19).
10         Dan reviewed Defendant Pressney’s Alleged Timeshare Contract and
11   discovered and shared with Barlow that Defendant Pressney received nothing from
12   the Developer for which Defendant Pressney had not prepaid in full; the
13   promissory note was not supported by consideration; there was no fact suggesting
14   Defendant Pressney owed anything to the Developer; and Defendant Pressney was
15   entitled to return of all sums mistakenly given with respect thereto.
16         Once Barlow determined, with Dan’s help, that the above evaluation is
17   accurate and that CDRS is experienced in resolving such matters (id. at ¶ 20),
18   Barlow joined CDRS and began the process of introducing every Defendant to
19   CDRS, so Defendants could receive assistance, if desired, in recovering all sums
20   mistakenly given to a Developer (id. at ¶ 37).
21         Thereupon, four particular Defendants, with the help of other CDRS
22   members, undertook comprehensive efforts to recover the sums mistakenly given
23   to Developer DRII, beginning with a demand for treble the total amount so-given
24   and followed up with lodgment with five different district attorneys and five U.S.
25   attorneys against Developer DRII, a total of 16 criminal complaints (individually a
                                               6
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1    “DRII Criminal Complaint,” collectively the “DRII Criminal Complaints”)—
2    which affidavits (DRII Criminal Complaints) are hereby made fully part hereof
3    and incorporated herein by reference—a true, correct, and complete copy of the
4    DRII Criminal Complaint sworn to by Defendant Abel and lodged with the Clark
5    County, Nevada, and Broward County, Florida, District Attorneys and U.S.
6    Attorney for the District of Nevada which agrees in substance with every other
7    DRII Criminal Complaint, is hereby incorporated herein by reference and attached
8    hereto as, respectively, Exhibit C-1, C-2, and C-3 (a duplicate original or certified
9    copy of any DRII Criminal Complaint is available as the Court needs).
10         At the time of the events described in the above paragraph, Barlow arranged
11   a meeting with Michael Krieck of Resort Advisory Group, who arrived at Barlow’s
12   offices in Woodland Hills, California, with another individual previously unknown
13   to Barlow who identified himself as “Bo” (later identified as William James “Bo”
14   Wilson) and the owner of another timeshare exit company, Timeshare Compliance.
15   At said meeting was Dan, whom Barlow also invited (see Affidavit of Brent David
16   Barlow, ¶ 35).
17         The purpose of the meeting was to see if there were anything on which
18   Resort Advisory Group, Dan, and Barlow could collaborate against a Developer
19   and to inform Mr. Krieck of the aforesaid breakthrough with the Alleged
20   Timeshare Contract (id. at ¶ 34).
21         At the meeting Dan detailed the analysis of the plain language of the
22   timeshare contract, demonstrated how each contract reviewed lacked the essential
23   element of consideration, and explained the potential jeopardy facing each
24   Developer that refuses to admit its mistake and make whole the timeshare
25   customer defrauded by Developer.
                                               7
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1          Sometime after the reality of Developer fraud had settled in, Defendants
2    realized that it is impossible to “terminate/transfer” a void or unenforceable
3    Alleged Timeshare Contract and that the guarantee in the Alleged RAG Contract is
4    meaningless: Defendants Pressney, Abel, Hannah, Turk, Bettinelli, Castle, Castro,
5    and Martinez sent plaintiffs a Demand, Notice, and Warning of Commercial Grace
6    (the “DNWCG”) demanding of Resort Advisory Group principals confession of
7    incompetence and treble the amount of all sums mistakenly given to Resort
8    Advisory Group, a true and correct copy of USPS Proof of Delivery of said
9    DNWCG and accompanying notarized Affidavit of Mailing sent to plaintiff
10   Intermarketing Media, LLC by Defendant Abel—which DNWCG agrees in
11   substance with all others sent to plaintiffs by said other Defendants—is hereby
12   incorporated herein by reference and attached hereto as, collectively, Exhibit D (a
13   duplicate original or certified copy of any notarized Affidavit of Mailing is
14   available to the Court as needed).
15         When plaintiffs failed to comply with Defendants’ demands, Defendants
16   carried out the measures of which Resort Advisory Group principals were
17   forewarned in the DNWCG, ultimately lodging with three district attorneys and
18   two U.S. attorneys a total of 33 criminal complaints (individually a “RAG
19   Criminal Complaint,” collectively the “RAG Criminal Complaints”)—all of which
20   affidavits (RAG Criminal Complaints) are hereby made fully part hereof and
21   incorporated herein by reference—and a true, correct, and complete copy of the
22   RAG Criminal Complaint sworn to by Defendant Abel and lodged with the San
23   Diego County, California, District Attorney and U.S. Attorney for the Southern
24   District of California—which two RAG Criminal Complaints agree in substance
25   with every other RAG Criminal Complaint—is hereby incorporated herein by
                                               8
                NOTICE OF MOTION AND MOTION TO DISMISS PURSUANT TO
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1    reference and attached hereto as, respectively, Exhibit E-1 and Exhibit E-2 (a
2    duplicate original or certified copy of any RAG Criminal Complaint is available as
3    the Court needs).
4          Prior to service on Barlow of plaintiffs’ Ex Parte Application for Temporary
5    Restraining Order with Expedited Discovery, Other Equitable Relief, and Order to
6    Show Cause Why Preliminary Injunction Should Not Be Issued (Ex Parte App.,
7    ECF No. 10), Barlow on May 17, 2020, sent by email to counsel for plaintiffs
8    Bryan C. Altman and William I. Rothbard a letter giving notice of the infirmity of
9    any such contemplated action and warning of the liability associated therewith, a
10   true and correct copy of which letter is incorporated herein by reference and
11   attached hereto as Exhibit F.
12                                     ARGUMENT
13                                            I.
14      MATERIAL TERMS AND CONDITIONS OF ALLEGED TIMESHARE CONTRACT
15         A true and correct copy of the document entitled “CREDIT SALE
16   CONTRACT” and subtitled “Diamond Resorts Hawaii Collection” and “Purchase
17   and Security Agreement” from an Alleged Timeshare Contract between Developer
18   DRII and Defendant Abel, which agrees in substance with the purchase agreement
19   of every other Alleged Timeshare Contract between a Developer and a Defendant,
20   is hereby incorporated herein by reference and attached hereto as Exhibit G (the
21   “Alleged Purchase Agreement”) (a true and correct copy of any other Developer-
22   Defendant purchase agreement is available to the Court as needed).
23         At the time of apparent execution of the Alleged Purchase Agreement,
24   Developer DRII appears to sell to Defendant and Defendant Abel appears to
25
                                              9
               NOTICE OF MOTION AND MOTION TO DISMISS PURSUANT TO
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1    purchase from Developer DRII for $189,315.00 plus closing costs of $900.00,
2    what Developer DRII represents as a “Membership.”2
3          The Alleged Purchase Agreement provides, in pertinent part (Underline
4    emphasis added.):
5                5. Vacation Ownership Plan.
6                    (a) The Collection is a time share use plan under Hawaii law, and
7                your Membership is a form of right-to-use time share interest in a time
8                share use plan. . . .
9                6. Assessments and Personal Charges.
10                   (a) Assessments are fees charged by the [Diamond Resorts Hawaii
11               Collection Members] Association to pay the Collection costs.
12               Collection costs are the costs of owning, operating, and maintaining
13               the Collection and the Collection Accommodations, operating the
14               Association, and conducting its business. . . .
15                   There are two kinds of assessments: standard assessments and
16               special assessments.
17                   (b) The standard assessment is an annual fee charged by the
18               Association to the Members for their share of the annual Collection
19               costs. You must pay the standard assessment starting with your initial
20               use year and for each year after that. Your initial standard assessment
21               will be due and you must pay it before you first use and occupy a
22

23
           2
24          Other Developers refer to the equivalent of the Developer DRII
     Membership as an “ownership interest” or “home week” or “vacation ownership
25   (timeshare estate)” or “vacation ownership interest” or any of various other names.
                                              10
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1                Collection Accommodation during the year in which your closing
2                occurs. . . .
3                ...
4                      (c) . . . Personal charges are expenses incurred as a result of the
5                act or omission to act or a Member or of someone else occupying a
6                Collection Accommodation assigned to a Member during the time
7                periods reserved of scheduled for use by that Member.
8                      (d) . . . Under no circumstances will you be allowed to reserve, use,
9                or occupy any Collection Accommodation, or to exercise any other
10               rights, benefits, or privileges of a Member, unless and until all
11               assessments and other amounts that you owe to the Association or the
12               Seller have been paid in full.
13               10. Default.
14                     (a) You will be in default under this Agreement if (a) you do not
15               pay, or (b) you do not pay on time, or (c) you do not keep any other
16               promise in this Agreement, or (d) you do not perform all of your
17               obligations under this Agreement, your Note, and/or the Collection
18               Instruments . . . If you default then you cannot reserve, use, or occupy
19               a Collection Accommodation and you cannot use any other rights,
20               benefits, or privileges of your Membership.
21                        ...
22                        (2) If you fail to keep all of your promises or perform, on time,
23               all of your obligations under the Note, this Agreement, or any of the
24               collection instruments after closing, then the seller will give you
25               written notice of your failure. If you do not cure your failure within
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1                 ten days (in the case of failure to pay money) . . . after the seller gives
2                 such a notice, then you will be in default and the seller may . . . (ii)
3                 terminate your Membership and keep all amounts previously paid by
4                 you as liquidated damages . . .
5          At apparent execution of the aforesaid Alleged Timeshare Contract with
6    Developer DRII January 12, 2017, Defendant Abel gives Developer DRII
7    $11,172.00 in legal tender, $23,136.30 in trade-in value credit, and $155,906.70 in
8    a signed promissory instrument entitled “PURCHASE MONEY NOTE” (the
9    “Alleged Note”) for a total of $190,215.00, and Developer DRII gives Defendant
10   Abel the Membership.
11                                   NO DEBT INCURRED
12         Notwithstanding that the Alleged Purchase Agreement represents in
13   subparagraph 5(a) that “your Membership is a form of right-to-use time share
14   interest in a time share use plan,” at apparent execution thereof and purchase of
15   the Membership January 12, 2017, Defendant Abel acquires no “right-to-use time
16   share interest” of any kind.
17         Paragraph 6 (supra, pp. 10-11) and subparagraphs 10(a) and (a)(2) (supra,
18   pp. 11-12) of the Alleged Purchase Agreement establish that:
19              There are two essential elements of the right to “reserve, use, or
20                occupy a Collection Accommodation”: (1) Membership, and (2)
21                assessments and personal charges; and
22              Membership alone confers no right to “reserve, use, or occupy a
23                Collection Accommodation” or any other “form of right-to-use time
24                share interest in a time share use plan”; and
25   ///
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1           Whereas: Upon execution of the Alleged Purchase Agreement and Alleged
2    Note January 12, 2017, Defendant Abel enjoys no right or interest which
3    Defendant Abel does not have prior thereto; and
4          Whereas: “Membership,” as acquired by Defendant Abel January 12, 2017,
5    has no value, utility, or effect unless supplemented, at additional expense, with
6    timely payment in full of the standard assessment for the “initial use year” and then
7    every year thereafter, along with all other assessments and personal charges
8    described in the Alleged Purchase Agreement; and
9          Whereas: The representation in subparagraph 5(a) of the Alleged Purchase
10   Agreement that “your Membership is a form of right-to-use time share interest in a
11   time share use plan” is a materially false and misleading representation; and
12         Whereas: Membership does not fall under the legal definition of property
13   because it can never actually be owned by any “purchaser”; to wit: Membership—
14   even if paid in full by Defendant Abel—is always subject to summary suspension
15   or termination by Developer DRII should Defendant Abel miss any assessment or
16   personal charge or fail to cure such default within a matter of days; and
17         Whereas: Developer DRII sold Defendant Abel not “a form of right-to-use
18   time share interest in a time share use plan” but an assortment of papers on some
19   of which the word “Membership” appears—i.e., a bill of goods; and
20         Whereas: There is no fact that shows that upon apparent execution of the
21   Alleged Note by Defendant Abel January 12, 2017:
22             Developer DRII gave consideration to Defendant Abel; or
23             Defendant Abel received consideration from Developer DRII; and
24         Whereas: In the absence of consideration no debt is incurred,
25   ///
                                              13
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1            Wherefore: Defendant Abel incurred no debt upon “receipt” of Developer
2    DRII’s Membership at apparent execution of the Alleged Purchase Agreement and
3    Alleged Note January 12, 2017.
4                                            VOID NOTE
5            Credit is defined as follows:
6                  The term “credit” means the right granted by a creditor to a debtor to
7                  defer payment of debt or to incur debt and defer its payment. 15
8                  U.S.C. § 1602(f).
9            There being no evidence of fact that Defendant Abel (1) was a debtor to
10   Developer DRII at any time prior to apparent execution of the Alleged Timeshare
11   Contract between Developer DRII and Defendant Abel January 12, 2017, or (2)
12   incurred any debt upon receipt of what Developer DRII calls “Membership”:
13               Defendant Abel received no loan of credit from Developer DRII;
14               There is no valid or enforceable consumer-credit contract between
15                 Developer DRII and Defendant Abel;
16               The TILDS associated with Defendant Abel’s Alleged Timeshare
17                 Contract with Developer DRII is a false document; and
18               The Alleged Purchase Agreement, Alleged Note, and Defendant
19                 Abel’s Alleged Timeshare Contract with Developer DRII are void ab
20                 initio for failure of consideration.
21                                              II.
22           ALLEGED RAG CONTRACT VOID FOR FAILURE OF CONSIDERATION
23           Defendant Abel’s Alleged RAG Contract (Exhibit B) provides, in pertinent
24   part:
25   ///
                                                 14
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1               “RA-Group will terminate/transfer Your current Timeshare. . . .”
2                 (Services Agreement, subparagraph 1a, p. 1)
3               “You are still responsible for the mortgage until the termination/
4                 transfer is completed.” (id. at subparagraph 1b, p. 1)
5               “[S]ome resorts/clubs may require a cancellation fee or the like to end
6                 an ownership. . . . Should this be the case You will be required to pay
7                 the fee(s) to the Developer/Club for a successful termination/transfer.”
8                 (id. at subparagraph 4d, p. 3)
9               “Our services are designed to relieve You of Your current mortgage
10                debt and ownership connected to that debt. . . .” (STATEMENT OF
11                UNDERSTANDING, p. 1)
12         Whereas, (1) validity and enforceability of the Alleged RAG Contract is
13   predicated exclusively on existence of a valid and enforceable timeshare contract
14   between a Developer and a Defendant, and (2) every Alleged Timeshare Contract
15   is void and unenforceable ab initio for failure of consideration: Plaintiffs are
16   incapable of producing admissible evidence to support fact of substance in the
17   subject matter of the Alleged RAG Contract and the Alleged RAG Contract is
18   unenforceable and void ab initio for failure of consideration.
19                                            III.
20                              NO CONTRACT WITH BARLOW
21         The Amended Complaint (ECF No. 9) provides, in pertinent part:
22                Plaintiff provides timeshare resolution services both directly and
23                indirectly, through attorneys retained by it and to whom it refers
24                timeshare purchasers who have met its qualifications for assistance in
25
                                               15
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1                 cancelling and withdrawing from their timeshare contracts. . . . (Page
2                 14 of 101, lines 5-8.)
3                 Timeshare purchasers who credibly appear to have been victimized by
4                 a timeshare developer and are qualified and accepted as a suitable
5                 client are referred to an attorney on retainer with Plaintiff Resort
6                 Advisory Group who will then provide legal representation to the
7                 client to help it attempt to cancel and withdraw from the timeshare
8                 contract. . . . (Page 20 of 101, lines 8-12.)
9                 Plaintiff Resort Advisory Group has signed valid contracts with each
10                of its clients, including the Barlow 10, for representation of their legal
11                interests to remove or eliminate their timeshare contract obligations.
12                (Page 70 of 101, lines 21-23.)
13         Because none of the above assertions can be properly supported, yet
14   collectively are a general depiction of plaintiffs’ business model, plaintiffs
15   misrepresented to Barlow that:
16         1. The measures being taken against Defendants by Developers are
17             authorized by contract; and
18         2. Plaintiffs, with Barlow’s assistance, could “terminate/transfer” the
19             timeshare contracts giving Developers the right to enforce those
20             measures.
21         In support of the foregoing, Barlow hereby incorporates herein by reference
22   as Exhibit H, the attached Affidavit of Brent David Barlow.
23         There being no fact of an enforceable contract between any Developer and
24   any Defendant or Resort Advisory Group and any Defendant, there can be nothing
25
                                               16
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1    in the subject matter of any purported contract between Resort Advisory Group
2    and Barlow and any such contract is void ab initio.
3                                                           IV.
4                       PLAINTIFFS’ CLAIMS RELY ON PRIVILEGED CONDUCT
5            Notwithstanding any additional defense offered by Defendants (e.g., Truth,
6    Anti-SLAPP, Noerr-Perrington, etc.) and while bearing in mind distinctions in the
7    application of “privilege” between Federal and state court matters, plaintiffs have
8    constructed a 25-claim complaint to redress conduct that is privileged as a matter
9    of law and cannot form the basis of any cause of action.3
10           Federal evidentiary privileges are almost entirely based on case law (see
11   Fed. R. Civ. P. 501) while California recognizes only statute-based privileges.
12   California has no common law evidentiary privileges. See Welfare Rights
13   Organization v. Crisan, 33 Cal.3d 766, 768-769 (1983). California courts have no
14   power to “create” an evidentiary privilege. See Cal. Law Revision Com. com.,
15

16
             3
             The principal facts and gravamen of Plaintiffs’ action is contained in paragraphs 3 and 4 of the First
17   Amended Complaint:
           3. Through this enterprise (“Barlow Racketeering Enterprise”), Defendants, at Barlow’s direction,
18         guidance, and encouragement, filed knowingly frivolous state court claims against Plaintiff Resort
           Advisory Group in this District and lodged numerous false and baseless, but, nonetheless, intimidating
19         criminal complaints against Resort Advisory Group and one of its attorneys, Plaintiff David Alan Klein,
           principal of Plaintiff Law Offices of David Alan Klein, P.C. (“Attorney”), with federal and state law
20         enforcement agencies in Southern California and New Jersey and the Pennsylvania and New Jersey state
           bars as to Attorney.
           4. The intended purpose of these false allegations was to harass and harm the business, reputation and
21         profitability of Resort Advisory Group to facilitate a planned extortion attempt on Plaintiffs, and to harass,
           intimidate and harm the business, reputation and profitability of Attorney. Moreover, through this
22         enterprise, defendants, orchestrated by Barlow, have attempted, and are continuing to attempt, to extract
           over $800,000 from Plaintiffs as a condition of ceasing Barlow Racketeering Enterprise’s lawsuits, criminal
23         complaints, and bar complaints targeting Plaintiffs and the professional reputation and licensure of
           Attorney. Further, Defendant Barlow, acting on behalf of the Barlow Racketeering Enterprise, has
24         threatened Plaintiffs with further frivolous civil and criminal charges unless the extortion demand is paid,
           stating they would not stop until Plaintiffs were ruined and out of business. The imminence of these
           continuing threats, made within the last two months and renewed as recently as May 5, 2020, highlight the
25
           urgent need for judicial intervention.
                                                             17
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1    West’s Ann.Cal.Evid.Code, foll. § 911; HLC Properties, Ltd. v. Superior Court, 35
2    Cal.4th 54, 59-60 (2005); Roberts v. City of Palmdale, 5 Cal.4th 363, 373 (1993).
3    Federal courts, by contrast, have “the flexibility to develop rules of privilege on a
4    case-by-case basis.” See Trammel v. United States, 445 U.S. 40, 47 (1980); see
5    Dickerson v. Superior Court, 135 Cal.App.3d 93, 99 (1982).
6                                   LITIGATION PRIVILEGE
7          “The immunity of parties and witnesses from subsequent damages
8          liability for their testimony in judicial proceedings was well
9          established in English common law (citations omitted). Some
10         American decisions required a showing that the witness’ allegedly
11         defamatory statements were relevant to the judicial proceeding, but
12         once this threshold showing had been made, the witness had an
13         absolute privilege. The plaintiff could not recover even if the witness
14         knew the statements were false and made them with malice. ¶ In the
15         words of one 19th-century court, in damages suits against witnesses,
16         “the claims of the individual must yield to the dictates of public
17         policy, which requires that the paths which lead to the ascertainment
18         of truth should be left as free and unobstructed as possible. . . .”
19         Briscoe v. La Hue, 460 U.S. 325, 331-333, 103 S.Ct. 1108, 1113-
20         1114, 75 L.Ed.2d 96, 105-106 (1983)
21         Under California Civil Code section 47(b), the litigation privilege protects
22   any “publication or broadcast . . . made . . . in any . . . judicial proceeding.” The
23   privilege is absolute and precludes a claimant from establishing a probability of
24   prevailing on the merits of his claim. See Kashian v. Harriman, 98 Cal.App.4th
25   892, 926 (2002). The litigation privilege generally applies to “any communication
                                                18
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1    (1) made in judicial or quasi-judicial proceedings; (2) by litigants or other
2    participants authorized by law; (3) to achieve the objects of the litigation; and (4)
3    that have some connection or logical relation to the action.” Silberg v. Anderson,
4    50 Cal.3d 205, 212 (1990). The privilege pertains not only to statements made
5    during a trial, but also to steps taken before trial and statements made “to achieve
6    the objects of the litigation, even though the [statement] is made outside of the
7    courtroom and no function of the court or its officers is invoked.” Albertson v.
8    Raboff, 46 Cal.2d 375, 381 (1956). The privilege is intended to “afford litigants
9    and witnesses . . . the utmost freedom of access to the courts without fear of being
10   harassed subsequently . . . . [] [with] protracted and costly lawsuits.” Silberg, 50
11   Cal.3d at pp. 213-214.
12         Each affidavit submitted by a Defendant, of which plaintiffs complain, was
13   sworn true, correct and complete, carries the same evidentiary value as any other
14   witness testimony proffered in the judicial process, was tendered in discharge of a
15   legal duty to disclose (see, 18 U.S.C. 4) in furtherance of a legitimate judicial
16   purpose, and no credible or admissible evidence has been offered contrary to the
17   facts therein stated.
18                             ATTORNEY-CLIENT PRIVILEGE
19         “The attorney-client privilege protects confidential disclosures made by a
20   client to an attorney in order to obtain legal advice, as well as an attorney’s advice
21   in response to such disclosures.” In re Grand Jury Investigation, 974 F.2d 1068,
22   1070 (9th Cir. 1992) (citations omitted). The privilege protects communications
23   between a client and their attorney from compelled disclosure in a court of law.
24   See, Upjohn Co. v. United States, 449 U.S. 383, 389 (1981). It is a long
25   recognized principle that “the advocate and counselor [needs] to know all that
                                               19
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1    relates to the client’s reasons for seeking representation” if he is to provide
2    effective legal advice. Trammel v. United States, 445 U.S. 40, 51 (1980); see also
3    8 John Henry Wigmore, Evidence § 2290 (John T. McNaughton, ed. 1961). The
4    privilege is recognized to “encourage full and frank communication between
5    attorneys and their clients and thereby promote broader public interests in the
6    observance of law and administration of justice.” Upjohn Co., 449 U.S. at 389.
7    The suggestion that Defendants acted at the “direction, guidance, and counseling”
8    of Barlow is speculation based on privileged communications protected by the
9    attorney-client privilege.
10                          DUTY OF ZEALOUS REPRESENTATION
11         As first articulated in 1908, in ABA Canons of Professional Ethics, Canon
12   15 (“. . . a lawyer owes entire devotion to the interest of the client, warm zeal in the
13   maintenance and defense of his rights and the exertion of his utmost learning and
14   ability . . .”), an attorney owes a duty of zealous representation to a client. See
15   California Rules of Professional Conduct, Rule 1.3 Diligence; American Bar
16   Association (“ABA”) Model Rule 1.3 (Diligence); California Business and
17   Professions Code section 6068.
18         When plaintiffs referred clients, including Defendants, to Barlow for legal
19   representation and the attorney-client relationship was thereafter established
20   between such referred client and Barlow, the fiduciary obligations on Barlow
21   required Barlow zealously represent those clients wherever the evidence led. In
22   this case, it led back to plaintiffs, which for example charged one of Barlow’s
23   clients $118,515.47 for timeshare “cancellation” services. See Exhibit I.
24         Even if the fact is overlooked that the underlying timeshare contract lacks
25   consideration and is therefore unenforceable by the Developer, once the matter was
                                                20
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1    referred to Barlow, plaintiffs’ continued involvement was merely incidental.
2    Plaintiffs knowing referral of clients to Barlow, which imposed a duty of zealous
3    representation on Barlow, did not insulate plaintiffs from the consequences of any
4    wrongful conduct towards the referred client. When the evidence led back to
5    plaintiffs, Barlow referred such clients to other representation given the potential
6    conflict of interest.
7                 MEDIATION CONFIDENTIALITY / SETTLEMENT PRIVILEGE
8           Federal Rule of Evidence 408—which forms the basis of a number of state’s
9    mediation privilege—makes inadmissible statements made in compromise
10   discussions “when offered to prove liability for, invalidity of, or amount of a claim
11   that was disputed . . . .” Fed. R. Evid. 408(a). California Evidence Code section
12   1115(a) defines mediation as “a process in which a neutral person or persons
13   facilitate communication between the disputants to assist them in reaching a
14   mutually acceptable agreement.” In Travelers Casualty and Surety Co. v. Superior
15   Court, 126 Cal. App. 4th 1131, 1138-1139 (2005), citing, Saeta v. Superior Court,
16   117 Cal. App. 4th 261, 269 (2004), the court noted that “[a]lthough mediation
17   takes many forms and has been defined in many ways, it is essentially a process
18   where a neutral third party who has no authoritative decision-making power
19   intervenes in a dispute to help the disputants voluntarily reach their own mutually
20   acceptable agreement.” The scope of confidentiality in mediation is quite broad,
21   and it protects virtually anything that is said, done or produced, regardless of the
22   purpose for which disclosure is sought. And it applies to all participants, not just
23   the parties and their attorneys. Ca. Practice Guide Civil Trials and Evidence,
24   Rutter Group, 8:2831.20.
25   ///
                                               21
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1          California Evidence Code Section 1152, subdivision (a), provides,
2    “Evidence that a person has, in compromise … furnished or offered or promised to
3    furnish money or any other thing … to another who has sustained … loss or
4    damage, as well as any conduct or statements made in negotiation thereof, is
5    inadmissible to prove his or her liability for the loss or damage or any part of it.”
6    Section 1154 provides, “Evidence that a person has … offered … to accept a sum
7    of money or any other thing … in satisfaction of a claim, as well as any conduct or
8    statements made in negotiation thereof, is inadmissible to prove the invalidity of
9    the claim or any part of it.” Both provisions are based on the public policy in favor
10   of the settlement of disputes without litigation and are intended to promote candor
11   in settlement negotiations: “The rule prevents parties from being deterred from
12   making offers of settlement and facilitates the type of candid discussion that may
13   lead to settlement.” (Carney v. Santa Cruz Women Against Rape, 221 Cal.App.3d
14   1009, 1023, 271 Cal.Rptr. 30 (1990); see Caira v. Offner, 126 Cal.App.4th 12, 32,
15   24 Cal.Rptr.3d 233 (2005); Hasler v. Howard, 120 Cal.App.4th 1023, 1026, 16
16   Cal.Rptr.3d 217 (2004); see generally Cal. Law Revision Com. com., 29B West’s
17   Ann. Evid. Code (1995 ed.) foll. § 1154, p. 532 [“Section 1154 stems from the
18   same policy of encouraging settlement and compromise that is reflected in Section
19   1152”].)
20         Given Barlow’s preexisting relationship with each party and with no interest
21   in the outcome, at the parties’ request, Barlow consented to mediate the dispute
22   between plaintiffs and Defendants. To this end, Barlow initially conferred with
23   each party separately to determine the breathe of the dispute and in recognition of
24   the geographic challenges in bringing the parties together (most Defendants reside
25   outside southern California). An opening session with principals of Resort
                                               22
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1    Advisory Group (Jason Krieck, Mike Krieck, Bo Wilson, and Rich Folk) was held
2    in Barlow’s offices on March 2, 2020. These conversations were designed to
3    facilitate a resolution of the dispute between the plaintiffs and Defendants and
4    explore the potential terms of a settlement. As such and in this context, any offer
5    to settle is subject to the mediation privilege. Even if the mediation privilege does
6    not apply in this situation, for whatever reason, the settlement privilege bars
7    introduction of such evidence to prove the validity or amount of the claim.
8                                              V.
9                                      CONCLUSION
10         The Amended Complaint contains a recycled set of allegations designed to
11   punish those who placed trust in plaintiffs and who have only sought plaintiffs’
12   ethical conduct towards Defendants. Plaintiffs’ allegations rely on privileged
13   conduct, hypothesis, legal conclusions, and misleading supposition. The Court has
14   before it no fewer than ten affidavits factually supporting this Motion and
15   establishing that no Defendant received anything of value when entering into the
16   timeshare contract with a Developer. Plaintiffs must provide admissible evidence
17   of such gravity, solemnity, and liability as to overcome the material facts therein
18   stated.
19         Defendants have acted at all times in good faith and provided commercially
20   reasonable notice of every action taken about which plaintiffs complain. Plaintiffs
21   have been afforded the opportunity to admit their mistake but choose rather to
22   solicit this Court’s assistance in furtherance of their design relying on conclusory
23   allegations of law and unwarranted inferences to advance their argument.
24         There being no valid or enforceable contract between (1) any Developer and
25   any Defendant, (2) Resort Advisory Group and any Defendant, or (3) Resort
                                               23
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1    Advisory Group and Barlow, nor any admissible evidence supporting a claim of
2    wrongdoing by Barlow, there is no justiciable matter before the Court and
3    warranting plaintiffs be permitted to proceed with the instant action.
4          Therefore, plaintiffs’ Amended Complaint should be dismissed with
5    prejudice for plaintiff’s lack of standing and the Court’s lack of subject-matter
6    jurisdiction or, in the alternative, for plaintiffs’ failure to state a claim upon which
7    relief can be granted.
8

9
     Dated this 28th day of July 2020         Respectfully submitted,
10

11                                            s/ Brent D. Barlow                    .
                                              Brent D. Barlow, Esq. (Bar No. 168645)
12                                            Email: brent@barlowlegal.com
13                                            20929 Ventura Boulevard, Suite 47
                                              Woodland Hills, California 91364-2334
14                                            Telephone: (818) 369-4432
                                              Facsimile: (818) 887-0528
15
                                              Attorney for Defendant
16                                            Brent David Barlow, In Propria Persona
17

18

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                                                24
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8
                        UNITED STATES DISTRICT COURT
9
                      CENTRAL DISTRICT OF CALIFORNIA
10

11
      INTERMARKETING MEDIA, LLC ) No. 8:20-cv-00889
      et al,                    )
12                              ) [PROPOSED] ORDER
             Plaintiffs,        )
13
                                )
14                  vs.         )
                                )
15    Brent David Barlow et al, )
16
                                )
             Defendants.        )
17                              )
18         The Court having read and considered Defendant Brent David Barlow’s

19   Motion to Dismiss, and good cause appearing,

20         IT IS HEREBY ORDERED granting the Motion to Dismiss with prejudice.

21         IT IS SO ORDERED.

22   DATED: _______________________

23
                                   _____________________________________
24                                 Honorable Josephine L. Staton
25                                 United States District Court


                                  [PROPOSED] ORDER
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                       EXHIBIT A
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                       EXHIBIT B
Case 8:20-cv-00889-JLS-DFM Document 72 Filed 07/28/20 Page 34 of 152 Page ID
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Case 8:20-cv-00889-JLS-DFM Document 72 Filed 07/28/20 Page 44 of 152 Page ID
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                     EXHIBIT C-2
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                           AFFIDAVIT OF INFORMATION
                                  CRIMINAL COMPLAINT
                               FOR PUBLIC NOTICE FILING

Herman David Abel, and                             )    NO. ___________________
Debora Susan Abel,                                 )
                                                   )    AFFIDAVIT OF INFORMATION
       Complainant Affiants,                       )
                                                   )    ACCESSORY AFTER THE FACT [7
       v.                                          )    COUNTS]; CRIMINAL ATTEMPT [1
                                                   )    COUNT]; CRIMINAL CONSPIRACY
Leon David Black,                                  )    [1 COUNT]; GRAND THEFT IN THE
Joshua Harris,                                     )    FIRST DEGREE [1 COUNT].
Marc Jeffrey Rowan,                                )
Scott Martin Kleinman,                             )
James Charles Zelter,                              )
John Joseph Suydam,                                )
Robert Kenneth Kraft,                              )
Martin Bernard Kelly,                              )
Anthony M. Civale,                                 )
Cindy Zee Michel,                                  )
Apollo Global Management, LLC,                     )
Michael Allen Flaskey,                             )
Kenneth Steven Siegel,                             )
Brian Paul Garavuso,                               )
Lisa Marie Gann,                                   )
David Francis Palmer,                              )
Jason Frederic Cohen,                              )
Diamond Resorts International, Inc.,               )
Gerald Greenspoon,                                 )
Michael Ellis Marder,                              )
Victor Scott Kline,                                )
Richard Wayne Epstein,                             )
Jeffrey Aaron Backman,                             )
Julia Stepanova,                                   )
Greenspoon Marder PA, and                          )
Greenspoon Marder LLP,                             )
                                                   )
       Defendants.                                 )
                                                   )    Registered Mail RB 414 473 275 US

                                           Introduction.

       Complainant affiants Herman David Abel and Debora Susan Abel (collectively

“Complainant Affiant”) hereby present this Affidavit of Information upon probable cause
Form AOI-022020-BCDA                   Affidavit of Information / Criminal Complaint for Public Notice Filing
                                                                                                 Page 1 of 7
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pursuant to Title XLVI of The 2019 Florida Statutes §§ 777.03(c), 777.04(1) and (3), and

812.014(2)(a)(1), with respect to which, evidence of the above-enumerated offense, committed

by the above-named defendants, is provided herewith.

       Defendants Leon David Black, Joshua Harris, Marc Jeffrey Rowan, Scott Martin

Kleinman, James Charles Zelter, John Joseph Suydam, Robert Kenneth Kraft, and Apollo Global

Management, LLC (collectively “APOLLO”) and Michael Allen Flaskey, Kenneth Steven

Siegel, Brian Paul Garavuso, Lisa Marie Gann, David Francis Palmer, Jason Frederic Cohen, and

Diamond Resorts International, Inc. (collectively “DIAMOND”) are charged with Criminal

attempt, Criminal conspiracy, and Grand theft in the first degree.

       Defendants Gerald Greenspoon, Michael Ellis Marder, Victor Scott Kline, Richard

Wayne Epstein, Jeffrey Aaron Backman, Mitchell Shane Levine, Julia Stepanova, Greenspoon

Marder PA, and Greenspoon Marder LLP (collectively “GREENSPOON”) are charged with all

above-enumerated offenses.

                                            Background.

       Diamond Resorts International, Inc. (“DRII”) is a timeshare developer headquartered in

Las Vegas, Nevada, but who in Kauai County, Hawaii, and Marin County, California (and other

places), sells timeshare interests, known as memberships, associated with certain DRII timeshare

resort properties.

       A common DIAMOND practice is to upgrade a customer’s membership by accepting a

trade-in of the current timeshare contract, crediting sums given therein, and executing a new

contract.

       Complainant Affiant has a total of seven (7) such transactions with DIAMOND, i.e.,

alleged DRII timeshare contract no.:


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              17009411T, January 5, 2014, in Kauai County, Hawaii;;

              17159350, May 30, 2015, in Marin County, California;

              17204479, August 24, 2015, in Marin County, California;

              17396537, March 11, 2016, in Marin County, California;

              17634273, October 10, 2016, in Marin County, California;

              17694421, January 12, 2017, in Kauai County, Hawaii; and

              17583190, July 7, 2017, in Marin County, California,

a true and correct digital copy of each of which is available on the Internet at

https://gofile.io/?c=DbD45h and hereby made fully part hereof as, respectively, Exhibit A, B,

C, D, E, F, and G.

       In each of the above alleged DRII timeshare contracts, DIAMOND appears to sell

HERMAN DAVID ABEL and DEBORA SUSAN ABEL (collectively “ABEL”) a timeshare

interest and ABEL appears to purchase / upgrade and enter into a new contract where, in

exchange for an alleged down payment, assorted fees, closing costs, and a signed promissory

note for the benefit of DRII, DIAMOND promises to give Complainant Affiant “a loan from the

seller” or a “purchase money loan” to purchase from DRII certain intangible personal property,

i.e., “Membership in the Diamond Resorts Hawaii Collection vacation plan” or “Membership in

the Diamond Resorts U.S. Collection” (collectively the “Alleged Membership”), requiring of

ABEL each time, payments to DRII of alleged principal, interest, and various other related

periodic fees and sums.

       At the time of the first four (4) alleged DRII timeshare contracts (Exhibits A through D),

defendant DRII is a publicly traded company on the New York Stock Exchange.

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        In or about September 2016, defendant APOLLO purchases DRII and takes DRII private.

        In or about June 2018, ABEL ceases giving money to DRII and appears to default under

terms of the last alleged DRII timeshare contract (i.e., Exhibit G), whereupon DIAMOND cuts

off all of ABEL’s rights to reserve, use, or occupy any DRII accommodation or to exercise any

other right, benefit, or privilege appurtenant to the Alleged Membership.

        No later than November 1, 2018, APOLLO conspires with DIAMOND who conspires

with GREENSPOON (APOLLO, DIAMOND, and GREENSPOON hereinafter collectively

the “Defendant”), who appears to commence an arbitration proceeding1 with the American

Arbitration Association against ABEL for alleged default under the alleged promissory note of

alleged DRII timeshare contract 17583190 (see Exhibit G).

                                                   Affidavit.

        Complainant Affiant hereby solemnly swears, declares, and deposes as follows:

        1.       Complainant Affiant is competent to state the matters set forth herein.

        2.       Complainant Affiant has knowledge of the facts stated herein.

        3.       All the facts stated herein are true, correct, and complete in accordance with

Complainant Affiant’s personal knowledge, and if called upon as a witness Complainant Affiant

shall so testify.

                                           Plain statement of facts.

        4.       Beginning in or about early 2019 and ending in or about late 2019 Complainant

Affiant examines all of Complainant Affiant’s personal records and every record provided by




        1
          DIAMOND will never sue ABEL or any other timeshare “customer” in a court of law for an unpaid
balance on an alleged DRII purchase-money loan because DIAMOND cannot prove that anything was purchased
with DRII’s money (i.e., that DRII gave value).
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Defendant with respect to the seven (7) above alleged DRII timeshare contracts and determines

that during the respective tenor of each said alleged DRII timeshare contract:

                     The only rights in the Alleged Membership which ABEL had, used, or

                      enjoyed were purchased with ABEL’s money; and

                     No aspect of the Alleged Membership was purchased with DRII’s

                      money.[2]

         5.       Knowing that DIAMOND had on three (3) occasions committed against ABEL

the crime of grand larceny in the second degree and four (4) times the crime of grand larceny in

the third degree, with intent that DIAMOND avoid detection of having given ABEL false

promises of a loan and failed to loan ABEL anything or give ABEL value but nevertheless

having charged, billed, and collected from ABEL false sums of alleged principal, interest, and

other related fees totaling $32,704.60 on a nonexistent loan in alleged DRII timeshare contract

no. 17583190, GREENSPOON no later than November 1, 2018, conspires with APOLLO and

DIAMOND and, with intent to appropriate for APOLLO and DIAMOND’s use, knowingly

endeavors to obtain, on a permanent basis, property from ABEL with a value constituting grand

larceny in the first degree, i.e., $169,255.48 in alleged missed payments, accrued interest, and

late fees under the alleged promissory note of alleged DRII timeshare contract no. 17583190,

gives APOLLO and DIAMOND aid by commencing American Arbitration Association Case

Number: 01-18-0004-0924 against ABEL—a true and correct digital copy of the documents

comprising said arbitration proceeding is available on the Internet at

https://gofile.io/?c=DbD45h and hereby made fully part hereof as, collectively, Exhibit H.



         [2 Whereas, there is no evidence that DRII gave value to ABEL: The alleged respective promissory note
associated with each of the above seven (7) alleged DRII timeshare contracts is void for failure of consideration
(Hawaii Code, Uniform Commercial Code § 490:3-303(b); California Code, Commercial Code 3303(b)).]
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                       EXHIBIT D
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                                 #:1630
                                          64 Montego Key.
                                       Novato, California 94949.

                                           January 22, 2020.

                      Be advised: This Demand, Notice, and Warning of Commercial
                    Grace is an important commercial instrument that could affect your
                    property or rights to property or carry other serious consequences.


Intermarketing Media, LLC, doing business as                           9114 9014 9645 0948 4960 89.
   Resort Advisory Group
Jason A. Krieck                                                        9114 9014 9645 0948 4960 96.
Thomas Hunt McCarty                                                    9114 9014 9645 0948 4961 02.
Eric George Kittler                                                    9114 9014 9645 0948 4961 19.
Michael Krieck                                                         9114 9014 9645 0948 4961 26.
Bo Wilson                                                              9114 9014 9645 0948 4961 33.
       27201 Puerta Real, Suite 300
       Mission Viejo, California 92691

David Alan Klein                                                       9114 9014 9645 0948 4961 40.
Ten Grove Street
Haddonfield, NJ 08033

Re:       Your alleged July 3, 2018, contract with us.

                     Demand, Notice, and Warning of Commercial Grace.

The subject of your alleged contract with us regarding the Diamond Hawaii Collection ( “Your
Alleged Contract”) is alleged Diamond Resorts International, Inc. (“DIAMOND”) contract nos.
17694421 and 17583190 (collectively the “Alleged Diamond Contracts”).

At great expense of time, energy, and money, we recently completed analysis of the transactions
associated with the Alleged Diamond Contracts and determined that there is no evidence:

         that anything was purchased with DIAMOND’s money;
         of a loan from DIAMOND;
         that DIAMOND gave us value;
         of any purchase-money collateral;
         of any security interest in personal property;
         that we ever held any interest in any collateral;
         that we are a consumer debtor to DIAMOND;
         that we are a consumer obligor to DIAMOND; or
         of a consumer transaction.

Whereas, we entered into the Alleged Diamond Contracts believing that we were receiving loans
of DIAMOND’s money and DIAMOND promised to give us such loans, but omitted to give us a
loan and charged us principal, interest, and fees on nonexistent loans: The alleged promissory
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notes associated with the Alleged Diamond Contracts are naked,1 simulated contracts2 and
invalid, legally unenforceable, and void ab initio for failure of consideration.

At the time we appeared to enter into contract with Resort Advisory Group July 3, 2018,
DIAMOND had no enforceable contractual right3 against us.

What the foregoing means is that:

      Resort Advisory Group sold us “services” which we did not need and which could not be
       delivered by Resort Advisory Group by reason of impossibility;

      Every single word uttered by Resort Advisory Group, whether in writing or verbally in
       person or electronically or over the phone in interstate commerce, with respect to Your
       Alleged Contract,4 is false and fraudulent5 and evidence of either (a) gross negligence,6 or
       (b) criminal wrongdoing; and

      All funds given to Resort Advisory Group by us were given by mistake.7

                                                     Demand.

Wherefore: Demand is hereby made for return, within twenty (20) days of date of delivery of this
Demand, Notice, and Warning of Commercial Grace, the commercially reasonable sum of treble
the total amount of money we mistakenly gave Resort Advisory Group in respect of Your
Alleged Contract, i.e., 3 X $19,500, or $58,500.00.

                                             Notice and Warning.

Whereas, mistakes are forgivable in law and it is possible that your acts and omissions against
and with respect to us were committed or ignored by you due strictly to incompetence, your
failure / refusal to give us, in the commercially reasonable manner demanded hereinabove, the
aforesaid commercially reasonable sum of $58,500.00, signifies that your aforementioned
alleged contract is not a result of mistake on your part but rather deception with intent to deprive
us of our money and intentional 8; whereupon, any failure / refusal to honor the above demand, a
consensual lien shall arise against the assets, land, and personal property of Intermarketing

       1
           A naked contract is one made without consideration, and for that reason it is void. . . . John Bouvier,
           Bouvier’s Law Dictionary, 3rd rev. (8th ed.), rev. by Francis Rawle (St. Paul, Minn.: West Publishing Co.,
           1914) (hereinafter “BOUVIER’S”), 2285, s.v. “Naked.”
       2
           simulated contract. Civil law. A contract that, although clothed in concrete form, has no existence in fact;
           a sham contract. ● A simulated contract can be declared a sham and avoided by an interested party,
           including a creditor of one of the parties to the contract. Black’s Law Dictionary, 7th ed., Bryan A.
           Garner, ed. in chief (St. Paul, Minn.: West Group, 1999), 325, s.v. “Contract.”
       3
           Jus ex injuria non oritur. A right cannot arise from a wrong. BOUVIER’S, 2141.
       4
           Dolus circuitu non purgator. Fraud is not purged by circuity. Id. at 2131.
       5
           Fraus est celare fraudem. It is a fraud to conceal a fraud. Id. AT 2135.
       6
           Lata culpa dolo æquiparatur. Gross negligence is equal to fraud. Id. at 2142.
       7
           Cujus per errorem dati repetitio est, ejus consulto dati donatio est. He who gives a thing by mistake has a
           right to recover it back ; but, if he gives designedly, it is a gift. Henry Campbell Black, A Dictionary of
           Law (St. Paul, Minn.: West Publishing Co. 1891), 306.
       8
           Once a fraud, always a fraud. BOUVIER’S, 2152.
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Media, LLC, Jason A. Krieck, Thomas Hunt McCarty, Eric George Kittler, Michael Krieck, Bo
Wilson, and David Alan Klein (collectively the “Lien Debtors,” individually a “Lien Debtor”) in
favor of Herman David Abel and Debora Susan Abel (collectively the “Lien Creditor”), in the
amount of the aggregate maximum statutory monetary value of the respective criminal offenses
committed against Lien Creditor since and including July 3, 2018; whereupon, Lien Creditor can
pursue any and all commercial, civil, or criminal remedies provided by law against Lien Debtors
at Lien Creditor’s discretion without further notice, including, but not limited to:

       presentment to the San Diego and Orange County, California, and Camden County, New
        Jersey, District Attorneys; United States Attorneys for the Southern and Central Districts
        of California and District of New Jersey, Office of Attorney Ethics of the Supreme Court
        of New Jersey, New Jersey State Bar Association, and the Pennsylvania Bar Association
        Disciplinary Board of an affidavit of information (criminal complaint) sworn to as true,
        correct, and complete and documenting and making known any and all offenses under
        California Code, Penal Code (“CCPC”), the New Jersey Code of Criminal Justice
        (“NJCCJ”), or Title 18 of the United States Code (“U.S.C.”) committed by any Lien
        Debtor, including, but not limited to, CCPC §§ 182(a)(4), 487(a), and 532(a); NJCCJ §§
        2C:5-2; and 18 U.S.C. §§ 1001 and 1343;

       the invoicing of Lien Debtors in the amount of the respective aggregate maximum
        statutory monetary value of any and all criminal offenses committed against Lien
        Creditor or Lien Creditor’s interests, due and payable in full within twenty (20) days of
        the date any such invoice therefor is sent; and

       the filing in any one or more UCC filing offices or real estate recording offices of a
        UCC1 financing statement to secure the total respective amount of indebtedness of any
        Lien Debtor to Lien Creditor.

The contents of this Demand, Notice, and Warning of Commercial Grace are binding on every
principal and agent re the subject matter set forth herein.

This letter and enclosure shall be entered in evidence in any civil or criminal proceeding that
may arise in connection with the subject matter set forth herein.

Please understand the extreme seriousness of this matter and be guided accordingly.

Very truly yours,



___________________________________               ___________________________________
Herman David Abel                                 Debora Susan Abel


Enclosure:
   Affidavit of Mailing


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                                          Affidavit of Mailing
I am over 18 years of age and not a party to the within action. My business address is:
          Gretchen Gabriel Babineaux
          180 Montura Way
          Novato, CA 94949
On the 22nd day of January 2020, I mailed one (1) original of the following:
         Demand, Notice, and Warning of Commercial Grace, Form DNWCG-012220-RAG, dated January 22,
          2020, signed by Herman David Abel and Debora Susan Abel, three (3) pages in length,
a total of three (3) pages mailed herewith, including all attachment pages (not including this Affidavit of Mailing) by,
as shown below, United States Postal Service Priority Mail, in a sealed envelope with postage pre-paid, properly
addressed as follows to the following parties:

                  Intermarketing Media, LLC                                9114 9014 9645 0948 4960 89.
                  Jason A. Krieck                                          9114 9014 9645 0948 4960 96.
                  Thomas Hunt McCarty                                      9114 9014 9645 0948 4961 02.
                  Eric George Kittler                                      9114 9014 9645 0948 4961 19.
                  Michael Krieck                                           9114 9014 9645 0948 4961 26.
                  Bo Wilson                                                9114 9014 9645 0948 4961 33.
                        27201 Puerta Real, Suite 300
                        Mission Viejo, California 92691

                  David Alan Klein                                         9114 9014 9645 0948 4961 40.
                  Ten Grove Street
                  Haddonfield, NJ 08033

I hereby declare upon penalty of perjury under the laws of the State of California, that the above is true, correct, and
complete and that this Affidavit of Mailing is executed January 22, 2020, at Novato, California.


_________________________________
Gretchen Gabriel Babineaux

 A notary public or other officer completing this certificate
 verifies only the identity of the individual who signed the
 document to which this certificate is attached, and not
 the truthfulness, accuracy, or validity of that document.


STATE OF CALIFORNIA, COUNTY OF MARIN

                                                                Jurat
Subscribed and sworn to (or affirmed) before me this ________ day of ___________________ 20____,

by ____________________________________________, proved to me on the basis of satisfactory
evidence to be the person who appeared before me.


                                                                  ______________________________________
                                                                  Notary Public
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Form AOI-030220-SDCDA        Affidavit of Information / Criminal Complaint for Public Notice Filing
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 Form AOI-030220-SDCA         Affidavit of Information / Criminal Complaint for Public Notice Filing
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                        EXHIBIT F
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                                  #:1656
                                      BARLOW & ASSOCIATES
                                       A T T O R N E Y S    A T   L A W
                                         20929 VENTURA BLVD, STE 47
                                          Woodland Hills, CA 91364-2103
                                           (818) 369-4432 Telephone

                                                                                                 Our File Number




 May 17, 2020


 Mr. Bryan C. Altman, Esq.                                                SENT BY EMAIL ONLY TO:
 10250 Constellation Boulevard, Suite 2500                                bryan@altmanlawgroup.net
 Los Angeles, California 90067

 Mr. William I. Rothbard, Esq.                                            bill@rothbardlaw.com
 2333 Canyonback Road
 Los Angeles, California 90049

         Regarding: Resort Advisory Group



 Messrs. Altman and Rothbard:

 It has come to my attention that you may be considering bringing suit against me and certain former
 clients of mine in behalf of Resort Advisory Group.

 This letter is sent as a courtesy to inform you of the infirmity of any such action and notice as to your
 joint-and-several liability with Resort Advisory Group for pursuing such course absent proof of
 standing to do so.

 Resort Advisory Group markets and sells its services on the presumption of the existence of certain
 contractual rights held by a timeshare developer against a prospective customer, nearly all of which
 supposedly arise from a signed promissory note held and enforced by the timeshare developer.

 To survive summary disposition, Resort Advisory Group would have to set forth by affidavit (not
 declaration) or equivalent evidence, facts supporting their claim of invasion of a legally protected
 interest arising from a contract with a customer; specifically: fact of a loan from the timeshare
 developer to the customer.

 As explained to your client: The only rights in the timeshare membership / vacation interest that my
 former clients had, used, or enjoyed were purchased with my former clients’ own money and no
 aspect thereof was purchased with the respective developer’s money.

 That no timeshare developer ever made a loan to any former client of mine means that (a) no related
 timeshare promissory note is supported by consideration, (b) all such notes are void and
 unenforceable for failure of consideration, and (c) Resort Advisory Group has never had an
 enforceable contract (nothing in the subject matter) with any former client of mine who appeared to
 sign a promissory note with a timeshare developer.
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 May 17, 2020
 Messrs. Altman and Rothbard




 Possibly you are unaware that no timeshare developer ever pursues a customer to recover any of the
 millions in defaulted timeshare “loans.” The reason is that they would have to allege and prove fact
 of a loan, something they cannot do–but which burden will fall upon you should you proceed against
 me.

 Wherefore, you are hereby given notice that, with respect to any former client of mine, should you
 undertake, on behalf of Resort Advisory Group, any action against me that takes my time or attention
 to rectify, you and Resort Advisory Group shall be jointly and severally liable therefor and billed at
 the rate of $750.00 per hour or any portion of an hour for any and all such time required by me or
 any attorney hired by me to address such matter, due and payable in full within 15 days of the date
 any invoice therefor is sent.

 You are further advised that the information in the proprietary systems of Resort Advisory Group to
 which I was given access was only that which was available to me directly from my clients.

 In closing, be advised that the affidavits of information lodged against your client for criminal
 wrongdoing are sworn to as true, correct, and complete (the truth, nothing but the truth, and the
 whole truth, respectively) and have not been contradicted or disproved; something you would have
 to do in order to prevail in any action against me or any of my former clients.

 This letter and proof of its transmission to you will be entered in evidence in any proceeding that
 may arise in connection with subject matter set forth herein.

 Very truly yours,


 BRENT D. BARLOW, ESQ.



 BDB/ao
 cc: client
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                        EXHIBIT H
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                  Affidavit of Brent David Barlow.
                                     Introductory Certification.
 The Undersigned Affiant, Brent David Barlow, hereinafter “Affiant,” hereby solemnly swears,
 declares, and deposes that:
 1. Affiant can competently state the matters set forth herewith.
 2. Affiant has personal knowledge of the facts stated herein.
 3. All the facts stated herein are true, correct, and complete, in accordance with Affiant’s
    personal knowledge.
                                      Plain Statement of Facts.
 4.   At or about 10 A.M. Friday, January 13, 2017, at the Resort Advisory Group (“RAG”)
      offices at 1800 Thibodo Road, Suite 100, Vista, California 92081, Affiant meets Jason
      Krieck (“Jason”) in person for the first time, at which meeting Jason represents that Jason is
      a former executive with a major timeshare developer and a knowledgeable professional and
      owner of RAG and that RAG assists victims of fraudulent business practices of timeshare
      developers.
 5.   Following the events described above in paragraph 4, Affiant and Jason agree that RAG will
      pay Affiant $700 each to review and evaluate the file of certain RAG customers, some of
      whom will engage Affiant under a separate written retainer / attorney-client agreement
      wherein Affiant agrees to “…take every pre-litigation step required to seek a withdrawal
      from and/or cancellation…” of each such RAG customer’s timeshare contract.
 6.   Beginning shortly after the events described above in paragraph 5, a number of such RAG
      customers engage Affiant as legal counsel to assist with the respective timeshare matter of
      each (“Barlow’s Client” or “Client” or plural, “Barlow’s Clients” or “Clients”), whereupon
      Affiant and Barlow’s Client enter into a separate, stand-alone, written retainer agreement
      creating an attorney-client relationship which narrowly defines and expressly limits the
      services that Affiant will provide Barlow’s Client (“Retainer Agreement”), a true and correct
      generic copy of which is attached hereto and made fully part hereof by reference as
      Attachment A.
 7.   Beginning at the time Affiant establishes an attorney-client relationship with each of
      Barlow’s Clients and thereafter, Affiant discloses to Barlow’s Client on multiple occasions
      that the fees paid to Affiant by RAG are administrative in nature, e.g., “RA-Group has paid
      Attorney a fee for the Services to be rendered hereunder. . . .” Retainer Agreement (Exhibit
      A), paragraph 4.
 8.   Affiant discloses to each of Barlow’s Clients in pertinent part of paragraph 5 of the Retainer
      Agreement (Emphasis in original):

                Client will only be obligated to compensate Attorney for legal services rendered if
                a recovery is obtained on Client’s behalf. The fee to be paid to Attorney will be:
                       Thirty‐Three and One‐Third percent (33⅓ %) of the net recovery

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 9.   Beginning in or about late summer 2017, after Affiant has heard several casual comments
      from a number of Barlow’s Clients, Affiant warns Jason that:
          a. It is RAG who is being charged by Affiant $700 per customer (supra, paragraph 5)
             and RAG must bear said $700 expense;
          b. It is improper to characterize the arrangement in subparagraph 9a as legal fees being
             charged to or paid by a RAG customer;
          c. It is appropriate only for a licensed attorney to charge such fees (i.e., the $700); and
          d. Regardless of alignment of Affiant and Jason’s intentions regarding Barlow’s
             Clients, and notwithstanding specific authorization to disclose to RAG certain
             information helpful to the prosecution of each Client’s claim, once Affiant has been
             engaged and the attorney-client relationship established, the Client’s interests are
             paramount to Affiant and Affiant owes all duty and obligation, with respect to the
             matter for which Affiant is engaged, to each such Client.
 10. Over the months following the events described above in paragraph 9, Affiant observes that
     Jason and Affiant continually evaluate the relationship established and described supra,
     from paragraph 4 onward, to determine what is working and what is not, where said
     relationship is headed, and how to best prepare for what may come.
 11. In or about October 2017, over the phone, in anticipation of an increase in volume of RAG
     customer files to be given to Affiant, Jason and Affiant agree to a temporary modification of
     the financial component of Jason and Affiant’s relationship: Jason will pay a flat-fee for
     services regardless of the volume of RAG customer files Affiant is given to review.
 12. Upon the events described above in paragraph 10, Affiant truly believes that RAG wants to
     help RAG’s customers and that RAG and Affiant share a mutual purpose to serve RAG’s
     customers, whereupon this apparent mutuality of intent:
        a. Affiant observes RAG to continue collecting and providing Affiant with most of the
           relevant documents needed by Affiant for new RAG-customer referrals (thereby
           saving the RAG customer from having to perform the task twice).
        b. To reduce lag-time with a request from Affiant due to missing information from a
           RAG customer file, Jason provides Affiant access to the RAG client-relations system,
           called “Pipeline,” and requests that Affiant, using Pipeline’s reporting function,
           notate any action taken by Affiant on any RAG customer file.
 13. With respect to the contents of subparagraph 12b above, the degree of access to Pipeline that
     Jason provides Affiant is restricted to specific RAG customers referred to Affiant by RAG
     and gives Affiant access only to information that is otherwise available to Affiant from
     Barlow’s Clients (no access to any confidential or proprietary information of RAG).
 14. Following the events described above, Affiant finds that developers are largely unresponsive
     to communication from Affiant and, upon a number of inquiries, discovers that Affiant’s
     experience is not unique and that timeshare developers generally refuse to engage or
     negotiate in good faith with aggrieved customers or customers’ respective representative.


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 15. From about December 2017 through about March 2018, Affiant requests of Jason any
     insight Jason may have about current timeshare-industry trends or alternative approaches
     that might offer a remedy for the situation described above in paragraph 14.
 16. In late spring 2018, Affiant meets a gentleman who:
          a. shares, among other things, results he has achieved on behalf of people facing
             conditions similar to those facing Barlow’s Clients;
          b. describes nontraditional methods but that are grounded in long-standing legal
             traditions and principles; and
          c. gives an articulate and thoughtful answer to every direct question Affiant asks.
 17. Upon the events described above in paragraph 16, Affiant invites said gentleman to come to
     Affiant’s offices later that week to continue the discussion.
 18. At the meeting described above in paragraph 17:
          a. Affiant formulates the opinion that said gentleman is intelligent, articulate, pleasant,
             presentable, calm, and reasonable, but reluctant to share personal details about
             himself and one who requires strict communication protocols;
          b. Said gentleman tells Affiant about a group through which he operates, describing it
             as a private association; and
          c. Affiant shares Affiant’s struggles on behalf of Barlow’s Clients and explains the
             timeshare transaction and history of the timeshare industry.
 19. In the weeks following the events described above in paragraph 18, said gentleman, whom
     Affiant knows as Dan, introduces Affiant to other members of a private association of which
     Dan evidently is a founding member, Cooperative Dispute Resolution Society (“CDRS”),
     and Dan and Affiant undertake an analysis of the timeshare transaction.
 20. Following the events described above in paragraph 19, Affiant discovers that certain of
     CDRS’s members have a history of deploying what Affiant determines to be effective, low-
     cost, commercial solutions with a high degree of flexibility in resolving the matters of other
     CDRS members.
 21. Following the events described above, Affiant develops concerns about the efficacy of
     efforts being taken by RAG and the effectiveness of the approach Affiant is taking on behalf
     of Barlow’s Clients and observes that:
         a. Once a customer is “in contract” with RAG and RAG refers that customer to an
            attorney who agrees to handle the dispute with the timeshare developer, RAG’s role
            is reduced to customer relations and maintaining the appearance of relevancy;
         b. A growing number of Clients are informing Affiant that RAG has instructed Clients
            to cease making “mortgage” payments on said Clients’ respective timeshare
            contract, so as to go into default;



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         c. Timeshare developers are not responding to requests from aggrieved timeshare
            customers to pursue a compromise, regardless of facts of potential fraud and
            overreach by said developers’ agents;
         d. Once a timeshare customer defaults, developers unilaterally and without notice
            terminate the timeshare contract or issue derogatory comments to the credit bureaus
            or claim the timeshare customer realized a tax benefit and therefore has a tax
            liability and issue an IRS Form 1099-A or 1099-C;
         e. Clients are telling Affiant that RAG is informing said Clients that it is the attorney
            (i.e., Affiant) who is at fault for breaking the promises made at execution of the
            RAG contract, upon which the Client relied when purchasing RAG services; and
         f. Barlow’s Client, Pam and John Pressney (collectively the “Pressneys”), tell Affiant
            that RAG told the Pressneys that a significant portion of the $120,000 in fees that
            RAG charged the Pressneys for timeshare-exit services went to “pay the attorneys”
            (i.e., Affiant).
 22. Following the events described above, Affiant calls Jason and shares with Jason Affiant’s
     concerns described above in paragraph 21 and Jason tells Affiant:
         a. Barlow’s Clients are lying to Affiant and that no one at RAG ever told a customer to
            “stop making payments” to any developer; and
         b. RAG earns every penny RAG charges RAG’s customers and that Affiant has “no
            idea how much” running an operation like RAG costs.
 23. During and after the events described above in paragraphs 21 and 22, working closely with
     Dan, Affiant focuses on the fundamental elements of the timeshare contract, starting with
     exchange of promises, and comes to know that regardless of how the timeshare transaction
     is characterized in any of approximately 500 timeshare contracts Affiant has personally
     reviewed, the indicia only imply an enforceable contract and Barlow’s Client only appears
     to acquire a timeshare interest in exchange for a signed promissory note—because Affiant
     seeks but is unable to find any fact that shows that:
         a. any Client received anything from a timeshare developer that was (i) not purchased
            with that Client’s own money, or (ii) purchased with the developer’s money; or
         b. A timeshare developer extended credit to a Client.
 24. In mid-June 2018, over the phone, Jason introduces Affiant to David Alan Klein (“Klein”),
     who represents that Klein is an attorney now working for RAG and Klein’s initial charge is
     “getting the back of the house in order” and implies that Affiant’s relationship with RAG
     will be changing.
 25. On August 23, 2018, Affiant attends a meeting at the RAG offices in Vista, California,
     attended by Ron Makino (“Makino,” in charge of RAG Operations) and Bonnie Kulka
     (“Kulka,” in charge of RAG Customer Relations)—with whom, as employees of RAG,
     Affiant has been interfacing since January 2017—and Jason and Klein.
 26. Regarding the aforesaid meeting in the RAG offices August 23, 2018:

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         a. Jason criticizes Affiant for not intervening with one of Barlow’s Clients who
            apparently threatened to go to the press and express said Client’s increasing
            frustration with respect to every aspect of said Client’s timeshare experience, which
            includes that with RAG, whereupon Jason and Kulka depart the room;
         b. Klein, Makino, and Affiant continue discussing the issue raised in subparagraph 26a
            (which Affiant shall later discover to be an exaggeration and likely a fabricated
            pretext); but
         c. Prior to Affiant’s departure from the RAG offices, Jason has a private moment with
            Affiant during which Jason tells Affiant (i) of all the “great things” Jason and Affiant
            are going to do together, and (ii) “don’t worry” about Jason’s criticism of Affiant
            expressed earlier in said meeting.
 27. At or about the time of the events described above in paragraphs 21-26, Affiant has a phone
     conversation with John Pressney (“John”) who, with wife Pam (“Pam”), has timeshare
     contracts with three timeshare developers—Welk Resort Group (“Welk”), Hilton Resorts
     Corporation (“Hilton”), and Diamond Resorts International, Inc. (“Diamond”)—in which
     Affiant explains the terms of a settlement that Affiant negotiated with Welk and that it is
     unlikely Affiant will be able to reach a similar agreement with either Hilton or Diamond, as
     Hilton and Diamond have been unresponsive to all requests to discuss customer complaints
     and informs John that:
        a. John and Pam should not expect a refund from any developer;
        b. It is likely that Hilton will “foreclose”;
        c. Diamond likely will remain silent and terminate the contract without notice;
        d. There likely will be a negative impact on both John’s and Pam’s credit rating as a
           result of actions taken by the developer;
        e. John and Pam should expect to receive an IRS Form 1099-C issued by a developer
           claiming a cancellation of debt; and,
        f. John and Pam will remain liable to any bank for any (high-interest) credit card
           facilitated by a timeshare developer to enable John or Pam to make the initial down
           payment on the timeshare contract.
 28. By August 31, 2018, Affiant has received so many reports from Clients about how RAG is
     denigrating how Affiant is or will be handling each Client’s respective matter, both before
     and after retainer of Affiant by each such Client, and because timeshare contracts,
     previously assumed to be valid and enforceable, likely lack sufficient consideration, Affiant
     attempts to speak directly with Jason by phone, but is unable to reach Jason—and thereupon
     ceases accepting referrals of aggrieved timeshare customers from RAG.
 29. Affiant on September 18, 2018, receives an email from Klein stating that Klein is “stepping
     in as in house/corporate counsel” for RAG and overseeing all RAG legal matters.
 30. As of late September 2018, Affiant has about 100 active timeshare cases with Clients
     referred by RAG—and Jason informs Affiant by phone that any RAG customer referred to

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     Affiant by RAG “belongs” to him (Jason).
 31. In October 2018, Affiant is contacted by Mike Krieck (“Mike”) who introduces himself as
     Jason’s brother and the person taking over RAG’s operations.
 32. From October 2018 and continuing through the beginning of March 2019, approximately 30
     of Barlow’s Clients report to Affiant that said Clients feel harassed by RAG or are confused
     by information provided by RAG (which Affiant surmises are wrongful attempts by RAG to
     interfere with the attorney-client relationship between Affiant and Clients).
 33. On or about March 7, 2019, Affiant delivers information by email to Barlow’s Clients in the
     hope of clarifying issues related to Affiant’s representation of Barlow’s Clients, Affiant’s
     relationship with RAG, and the current status of Barlow’s Clients’ respective matter and the
     timeshare industry generally, a true and correct copy of which email is made fully part
     hereof and attached hereto as Attachment B.
 34. In or about late June 2019, Affiant arranges a July 1, 2019 meeting with Mike for the
     purpose of, as expressed to Mike, discussing continuing tensions between Affiant and RAG
     as related to Barlow’s Clients, to share Affiant’s growing understanding of the true nature of
     the timeshare transaction, and to explore the possibility of assisting RAG evolve RAG’s
     business model to take advantage of Affiant’s new knowledge of the contractual relationship
     between timeshare developer and timeshare customer.
 35. Dan, whom Affiant had invited to attend the aforesaid July 1, 2019, meeting, arrives early at
     Affiant’s Woodland Hills, California, offices and Mike appears shortly thereafter
     accompanied by an uninvited individual previously unknown to Affiant who identifies
     himself as “Bo” (later identified as William James “Bo” Wilson), represents himself to be
     one of two owners of Timeshare Compliance (another “timeshare exit” company), and
     informs Affiant that Bo and Bo’s partner have recently acquired and are now the owners of
     RAG.
 36. Shortly after the said July 1, 2019, meeting, Affiant surveys (a) Affiant’s knowledge of
     plaintiffs’ business operation, (b) the lack of effective results Affiant is achieving on behalf
     of Barlow’s Clients while employing a traditional legal approach, (c) Affiant’s deepening
     understanding of the timeshare transaction, (d) the potential effectiveness of deploying a
     commercial solution to resolving timeshare disputes, and (e) strides made by CDRS while
     assisting individuals in situations similar to those of Barlow’s Clients, and determines
     Affiant would be derelict not to disclose to Barlow’s Clients, available alternatives beyond
     what Affiant provides respecting efforts to resolve Barlow’s Clients’ respective matter and,
     in late August 2019, begins notifying Barlow’s Clients about what Affiant has come to learn
     as the true nature of the timeshare transaction— specifically that:
          a. No loan was ever extended to the Barlow Client by a timeshare developer;
          b. Disputes involving the contemporary timeshare contract can be resolved more
             effectively through a commercial process;
          c. CDRS has extensive knowledge and experience with commercial handlings;
          d. A commercial handling is not the type of work Affiant performs; and

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          e. If desired by Barlow’s Client, Affiant would facilitate an introduction to CDRS.
 37. Upon the events described above in paragraph 36, Barlow’s Clients John and Pam Pressney,
     Lee Turk, David and Deborah Abel, Glen and Connie Perley, Gil and Eva Castro, Bernie
     and Carol Bettinelli, Lari Castle, Gene and Jenny Hannah, and Paul and Renee Martinez
     (collectively “CDRS Members”) request and receive from Affiant, introduction to CDRS for
     the purpose of determining rights and remedies respecting a timeshare dispute.
 38. From the beginning of the events described above to the present day, the only RAG
     customers with whom Affiant has contact are those individuals with whom Affiant enjoys an
     attorney-client relationship (i.e., Barlow’s Clients) via contact consisting of (a)
     correspondence referred to in paragraphs 33, 36, and 37 above, (b) communication
     specifically related to Affiant’s representation as attorney for Barlow’s Clients, and (c)
     communication with, between, or among CDRS Members and Affiant.
 39. With respect to services provided to RAG customers by RAG, Affiant is aware that RAG (a)
     makes an initial “welcome call” during which detailed information is obtained regarding
     RAG’s customer’s dispute with a timeshare developer, (b) collects and compiles relevant
     documentation regarding said dispute, including obtaining a “Letter of Explanation” from
     the RAG customer, (c) contacts an outside attorney with whom RAG has a referral
     relationship and providing all relevant information to such attorney, (d) initiates occasional
     “check-up” calls to the RAG customer, and (e) fields the occasional customer contact /
     question regarding status of said customer’s matter.
 40. The information referred to on page 19, lines 2 to 12, of that certain Amended Complaint
     (Document 9) in United States District Court for the Central District of California Case No.
     8:20-cv-00889 is readily available to Affiant from any of Barlow’s Clients.
 41. Beginning in or about early 2020, Affiant observes certain CDRS Members to submit a
     Demand, Notice, and Warning of Commercial Grace (“DNWCG”) to plaintiffs the
     gravamen of which is:
         a. the respective CDRS Member has spent time and effort to discover that the timeshare
            contract for which RAG was engaged, at significant cost to CDRS Member, to
            “terminate/transfer” is invalid for lack of consideration;
         b. RAG is invited to admit the mistake of offering services to the CDRS Member that
            were impossible to deliver;
         c. a demand for RAG to deliver, as reimbursement and for the CDRS Member’s
            inconvenience, treble the amount the CDRS Member mistakenly gave to RAG;
         d. in the event plaintiffs fail to admit such error, plaintiffs’ actions can only be
            interpreted as intentional;
         e. the CDRS Member shall report any observed wrongdoing to appropriate law
            enforcement agencies or governing bodies; and
         f. a consensual lien shall arise against plaintiffs in the amount of the aggregate statutory
            monetary value of crimes committed.


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 42. Shortly after the events described above in paragraph 41, Affiant is informed by each
     respective CDRS Member described therein that no responsive reply to the DNWCG is
     received from RAG.
 43. At or immediately following the time of the events described above in paragraphs 41 and 42
     (and prior to CDRS Members David and Deborah Abel, collectively “Abel,” filing any
     affidavit of information against plaintiffs), Mike expresses to Affiant that RAG would like
     Affiant to mediate the ongoing dispute between RAG and CDRS Members.
 44. In response to the events described above in paragraph 43, Affiant (a) gathers relevant
     information respecting the claims being asserted against RAG by CDRS Members, (b)
     explores additional, potential assistance CDRS might provide RAG with the federal lawsuits
     currently pending against RAG (see 9:20-CV-80143, 6:2019-CV-01908), and (c) arranges to
     meet representatives of RAG for the purpose of discussing RAG’s then-current situation
     with CDRS Members and, Affiant believes, exploring an amicable resolution thereof.
 45. On March 2, 2020, Jason, Mike, Bo, and Bo’s partner Rich Folk (“Rich”) travel to Affiant’s
     offices and meet with Affiant, each of whom presents himself as representing the interests of
     RAG, Bo and Rich also claiming to be owners of aforementioned Timeshare Compliance
     (“timeshare exit” company).
 46. At the meeting described above in paragraph 45, Affiant conveys that (a) Affiant will
     concede to mediating the dispute between RAG and CDRS Members on the condition that
     each party acknowledge that Affiant neither represents any party to the dispute nor has
     offered any legal counsel or advice to any such party, (b) in Affiant’s estimation, CDRS
     Members are asserting a legitimate claim and, based upon what Affiant knows about CDRS,
     these efforts would not cease, and (c) in the event RAG does not admit to mistake and meet
     CDRS Members’ respective demands, CDRS Members likely would follow through with
     measures outlined in the DNWCG.
 47. At the aforesaid March 2, 2020, meeting, Affiant affirms to Jason that (a) at the time Affiant
     first introduced CDRS Members to CDRS, Affiant had no intention that Jason or anyone
     else at RAG be targeted for the conduct outlined in the DNWCG, and (b) Affiant would do
     all Affiant could to assist in resolving the situation between RAG and CDRS Members.
 48. Shortly after the aforesaid March 2, 2020, meeting, Affiant receives a text message from
     Mike requesting that Affiant ask Abel to hold off filing an Affidavit of Information for a
     couple of weeks to allow RAG to see about finding the money to resolve the situation.
 49. Affiant hereby avers that:

            Barlow & Associates is an unregistered tradename without substance or existence
             independent of Affiant;

            ATTFUND is the name coined in a business proposal for a litigation-financing
             service which was never funded and never conducted any business; and

            Case in Chief, LLC is a defunct business undertaking, abandoned no later than
             January 2017, which provided litigation-support services.


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                ATTACHMENT A
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                                    #:1691
                                              BARLOW & ASSOCIATES
                                               A T T O R N E Y S     A T   L A W
                                                  21112 VENTURA BOULEVARD
                                                   Woodland Hills, CA 91364-2103
 Mailing Address:                                    (818) 369-4432 Telephone
X
□ 20929 Ventura Boulevard, Suite 47
  Woodland Hills, CA 91364-2334
                                                     (818) 887-0528 Facsimile
 □ 105 Crescent Bay Drive, Suite F
   Laguna Beach, CA 92651-1381                                                                              Our File Number




                                        ATTORNEY‐CLIENT FEE AGREEMENT

    BARLOW & ASSOCIATES, ATTORNEYS AT LAW (“Attorney”) and CLIENT (“Client”) hereby agree that Attorney
    will provide legal services to Client on the terms set forth below.

    1. CONDITIONS
       This Agreement will not take effect, and Attorney will have no obligation to provide legal services, until:
       (a) Client returns a signed copy of this Agreement to Attorney. This Agreement will be deemed to take
       effect as of the date signed by all parties.

    2. SCOPE OF SERVICES AND ATTORNEY’S DUTIES
       Client hires Attorney to provide legal services in the following matter:

               Attorney shall endeavor and take every pre‐litigation step required to seek a withdrawal from
               and/or cancellation of Client’s timeshare contract and to assist in obtaining a refund from the
               Developer, if and when possible.

          Attorney will provide legal services reasonably required to represent Client. Attorney will take reasonable
          steps to keep Client informed of progress and to respond to Client’s inquiries. This Agreement does not
          cover representation in any lawsuit, trial, post‐trial motions on appeal, or in collection proceedings
          after judgment or proceedings regarding renewal of a judgment, or any other matter not specified
          herein. Attorney is representing Client only in the matter described above.

    3. CLIENT’S DUTIES
       Client agrees to be truthful with Attorney and not to withhold information. Further, Client agrees to
       cooperate, to keep Attorney informed of any information or developments which may come to Client’s
       attention, to abide by this Agreement, and to keep Attorney advised of Client’s address, telephone number
       and whereabouts. Client will assist Attorney by timely providing necessary information and documents
       and generally cooperate fully with Attorney in all matters related to the preparation and presentation of
       Client’s claims including immediately delivering to Attorney copies of any documents or information, sent
       directly to client, related to the matter and informing Attorney of contact by Developer or its agents.

    4. WAIVER OF ATTORNEY CLIENT PRIVILEGE
       Client and Attorney acknowledge that Client has entered into a separate agreement with Resort Advisory
       Group, LLC (“ResortAG”) and that RA-Group has paid Attorney a fee for the Services to be rendered
       hereunder. Given the services provided to Client by RA-Group are consistent with Attorney’s efforts
       hereunder, it may be in the best interest of Client for Attorney to collaborate with RA-Group and share
       information about Client’s case with RA-Group.



                        By initialing here, Client specifically authorizes Attorney to disclose
                        information helpful to the prosecution of Client’s claims and expressly
                        waives the Attorney‐Client Privilege as to ResortAG and its employees.


                                                                _____________ _____________
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 5. LEGAL FEES
    Client will only be obligated to compensate Attorney for legal services rendered if a recovery is obtained
    on Client’s behalf. The fee to be paid to Attorney will be:

                          Thirty‐Three and One‐Third percent (33⅓ %) of the net recovery

     The term “net recovery” means the total value of all amounts received by settlement, in any form, including
     any “refund” or “debt forgiveness.” In some instances, where settlement includes direct payment to a third‐
     party on Client’s behalf (e.g., PayPal) or where Attorney successfully negotiates “forgiveness of debt” from
     Developer for Client’s benefit, Client will be required to issue payment for Attorney Fees directly to Attorney
     prior to the finalization of the settlement process (see, Example Two, below).

         Example One
         Attorney negotiates a refund to Client in the amount of $10,000:

         NET RECOVERY        $10,000
         ATTORNEY FEES       $3,333 (withheld from Settlement Amount and paid directly to Attorney)
         CLIENT DISTRIBUTION $6,667 (balance of Settlement paid to Client after Attorney Fees)

         Example Two
         Attorney negotiates direct payment to third-parties on Client’s behalf and/or “Debt Forgiveness” in
         the amount of $10,000:

         NET RECOVERY        $10,000
         ATTORNEY FEES       $3,333 (paid by Client directly to Attorney*)
         CLIENT DISTRIBUTION $6,667 (effective Settlement Value to Client after Attorney Fees are paid)

                   *UNDER EXAMPLE TWO, ATTORNEY FEES MUST BE PAID BY CLIENT
                   BEFORE SETTLEMENT AGREEMENT IS FINALIZED WITH DEVELOPER

                       CLIENT ONLY PAYS ATTORNEY FEES IF THERE IS A
                       “NET RECOVERY” IN THE MATTER, AS DEFINED ABOVE
                          CLIENT UNDERSTANDS THAT THE RATES ARE NOT SET BY LAW
                             BUT ARE NEGOTIABLE BETWEEN ATTORNEY AND CLIENT

 6. EXPRESS AUTHORITY TO DEPOSIT SETTLEMENT CHECK INTO ATTORNEY‐CLIENT TRUST ACCOUNT
    Client hereby expressly grants Attorney the limited authority to endorse, on Client’s behalf, any settlement
    check received in this matter and deposit same into Attorney’s Client Trust Account. Client understands
    that such Client Trust Account is monitored by the State Bar and imposes a fiduciary duty on Attorney.

 7. CLIENT APPROVAL NOT NECESSARY FOR SETTLEMENT
    Client authorizes Attorney to accept any settlement or compromise of Client’s claims without Client’s prior
    approval so long as such settlement or compromise includes the termination of Client’s contract with
    Developer and their continuing financial obligation thereunder.

 8. PROFESSIONAL LIABILITY INSURANCE DISCLOSURE
    Pursuant to California Rule of Professional Conduct 3-410, Attorney is informing Client in writing that
    Attorney does not have professional liability insurance covering this engagement.

 9. NO TAX ADVICE
    Attorney has not been retained to provide Client with any tax advice concerning any of the services herein
    described. Any documents prepared by Attorney may have specific tax ramifications. To be sure Client
    understands and is certain of all the potential tax consequences, Client should consult with tax advisors
    regarding these matters.
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 10. DISCHARGE AND WITHDRAWAL
     Client may discharge Attorney at any time. Attorney may withdraw with Client’s consent or for good cause
     or if permitted under the Rules of Professional Conduct of the State Bar of California and/or applicable law.

 11. CONCLUSION OF SERVICES
     Client may have access to Client’s case file at Attorney’s office at any reasonable time. At the end of the
     engagement, Client may request the case file. If no such request is made, Attorney will retain the case file
     for a period of one (1) year, after which Attorney is authorized by this agreement to have the case file
     destroyed. The case file includes Client papers and property as defined in Rule 3-700(D)(1) of the
     California Rules of Professional Conduct.

 12. RECEIPT OF PROCEEDS
     All proceeds of Client’s case will be deposited into Attorney’s trust account for disbursement in accordance
     with the provisions of this Agreement.

 13. DISCLAIMER OF GUARANTEE
     Nothing in this Agreement and nothing in Attorney’s statements to Client will be construed as a promise
     or guarantee about the outcome of this matter. Attorney makes no such promises or guarantees. Attorney’s
     comments about the outcome of this matter are expressions of opinion only, are neither promises nor
     guarantees, and will not be construed as promises or guarantees.

 14. ENTIRE AGREEMENT
     This Agreement contains the entire agreement of the parties. No other agreement, statement or promise
     made on or before the effective date of this Agreement will be binding on the parties.

 15. SEVERABILITY IN EVENT OF PARTIAL INVALIDITY
     If any provision of this Agreement is held in whole or in part to be unenforceable for any reason, the
     remainder of that provision and of the entire Agreement will be severable and remain in effect.


 READ, AGREED TO, AND ACCEPTED BY


                                            “CLIENT”


 DATED: _________________________           _____________________________________________________________
                                            CLIENT


 DATED: _________________________           _____________________________________________________________
                                            CLIENT



                                            “ATTORNEY”

 DATED: _________________________           BARLOW & ASSOCIATES, ATTORNEYS AT LAW


                                            By:_________________________________________________________
                                                     BRENT D. BARLOW, ESQ.
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                ATTACHMENT B
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Brent Barlow

From:                              Brent Barlow <brent@barlowlegalgroup.com>
Sent:                              Thursday, March 7, 2019 7:03 AM
To:                                'Brent Barlow'
Subject:                           REGARDING YOUR TIMESHARE MATTER


[YOU ARE RECEIVING THIS MESSAGE BECAUSE RESORT ADVISORY GROUP REFERRED YOUR MATTER TO THIS
LAW FIRM and IT IS OUR INTENTION TO CORRECT CERTAIN INFORMATION THAT YOU MAY HAVE RECEIVED
ABOUT HOW YOUR MATTER IS BEING HANDLED]


It appears some confusion has been created that may impact you and your matter. While we hope you have not
been affected, we are providing information here intended to illuminate and clarify the current situation. As your
attorney, the only accurate information you should rely on about the status of your legal matter is from this law
firm.

To the best of our understanding, we believe the following is a general outline of what has transpired as related to
your timeshare:

        You purchased a timeshare that you eventually became dissatisfied with and wanted to get rid of – the
         developer made a series of promises and representations that were untrue;
        You were contacted by Resort Advisory Group and were convinced they could get you out of your
         timeshare contract;
        You entered into a contract with Resort Advisory Group and agreed to pay them a fee, which you may have
         been told was based on the balance remaining on your timeshare contract and/or led to believe some
         portion of this fee was going to pay an attorney;
        Resort Advisory Group referred your matter to Barlow & Associates, Attorneys at Law;
        We reviewed your matter, confirmed it met our criteria, and agreed to take your case; and,
        You engaged this firm under the terms of a written retainer agreement to obtain a cancellation of your
         timeshare contract and you were required to pay the attorney no money whatever (there is a provision in
         our agreement authorizing us to participate in any money we recover from the developer by way of
         refund).

Respecting your specific matter, for which we were engaged:

        We agreed to “take every pre‐litigation step required to seek a withdrawal from and/or cancellation of [your]
         timeshare contract and to assist in obtaining a refund from the Developer, if and when possible”;
        Under our written retainer agreement, the attorney-client relationship exists between you and this law firm,
         we honor the duty owed to you as our client, and we have zealously represented your interests in this regard;
        No special relationship exists between this law firm and Resort Advisory Group (the source referring your
         matter);
        We charge third-party referral sources, such as Resort Advisory Group, a small administrative setup fee, of
         several hundred dollars, which is expressly not paid for any legal service provided to you;
        Absolutely no fees or costs are required to be paid by you to this law firm (however, again, there is a
         contingency fee provision in our retainer agreement and we participate in any refund we obtain from the
         developer); and,
        We neither endorse nor participate in any fees charged by a third-party company referring your matter to
         us and we inform them that it may be illegal if you are led to believe such charges imposed are for “legal fees”
         or that they are providing legal services.


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You may have also experienced any or all of the following:

       Resort Advisory Group apparently sent a letter to a number of our clients implying that this firm had
        abandoned their case and containing misleading information about their matter, to wit, that we:

               “…unilaterally terminated your representation without your consent. You should be aware that Mr.
               Barlow has been paid, in full, to represent you in this matter. This termination of representation,
               without your consent, may constitute a breach of Mr. Barlow's fiduciary duty to you as Mr. Barlow’s
               client.

               “It has also come to our attention that Mr. Barlow’s “Termination of Representation” letter also
               contained false and/or misleading information relative to his representation and his relationship with
               RA Group.

               “As a result of the foregoing, we will be reviewing your file for referral to another attorney, without
               additional costs to you, who will exercise due diligence in attempting to remove the burdens of your
               timeshare and who will not unilaterally terminate your attorney ‐ client relationship without advance
               notice to you and good cause.”

       After this, Resort Advisory Group looks to have sent a follow-up correspondence to a number of our clients
        creating additional confusion. If you received such correspondence, it contained certain misleading
        statements, among which are:

               “To minimizes [sic] the delay of switching attorneys in your case, as changing lawyers in the middle of
               a case can be like changing pilots in the middle of a flight. It would take time for a new attorney to
               become familiar with your file… His firm will continue following up with the developer, allowing time
               for this information to be processed by them.

               “Mr. Barlow's office will be copying Client Services on any/all communications, ie., [sic] letters, drafts,
               pleadings, orders, written and verbal, related to your case, via Dropbox, or email.

               “In closing, we have agreed to continue working as a team, in efforts to successfully resolve your
               timeshare cancellation matter, in a most expeditious manner.”

       Most recently, wrongfully interfering with the attorney-client relationship and further confusing our
        clients, Resort Advisory Group appears to have asked a number of our clients to “discharge” this law firm
        by sending a letter, which we believe was drafted by Resort Advisory Group, stating:

               “Please accept this letter as formal notice that you are hereby released from any obligation and or
               contract to litigate on my behalf or to represent me as legal counsel, effective immediately.

               “Please forward to me final actions you may have taken on my behalf, in my timeshare cancellation
               matter, along with any and all records, transcripts, and documents relating to my case.

               “Thank you in advance for your cooperation.”


First, we are not privy to the terms of your contract with Resort Advisory Group nor are we aware of the fees that
they are charging you or the services they are providing. We hope you are happy with their services and feel that
you are receiving value for the money you are paying them.

Nonetheless and for the avoidance of doubt, we never abandoned your matter or “unilaterally terminated your
representation without your consent” and have continued to diligently pursue its resolution. We also never agreed
to “continue” representing you because we never stopped representing you. While it has no effect on our

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representation of you in your timeshare matter, you should be aware that our relationship with Resort Advisory
Group has come to an end. In short, we became aware of a number of issues causing us concern, which we
attempted to discuss with Resort Advisory Group, but that were never resolved. Further, they have abused our
relationship with a number of our clients and created confusion with many of them. In the end, we will not do
business or have a relationship with a people we cannot trust.

We have been consumer protection attorneys for some time and, as such, it is our ardent desire to help and
protect people who have been taken advantage of – and you fall squarely in this category. Leaving aside the
legal and ethical duties that we – as attorneys – owe our clients, in your situation it is in our best interest to do
everything in our power to get you out of your timeshare contract quickly and to secure as large a refund from the
developer as possible. It is only by getting you a refund of the money you paid to the timeshare company that we
earn a living. We accepted your case on a Contingency Fee, which is a sum of money lawyers receive as a fee only if
the case is won. It is disingenuous to represent that the fee paid by Resort Advisory Group – an agreed amount of
$700 in your matter – is intended to cover anything other than the initial costs of our representation of you in this
matter.

Also, it seems that Resort Advisory Group believes that they have a right to insinuate themselves into your
relationship with your attorney and direct your actions. However, based on a number of conversations we have
had with clients who, like you, were referred to us by Resort Advisory Group, it appears that they are seeking to
justify the fees being charged to clients for matters they simply refer to an attorney to resolve. Again, we do not
claim to know the extent of the services they are providing you, but many of our clients report that all they have
really done is made a few calls “checking up” on how things are going and largely blamed the attorney for
delay. Further, it has been repeatedly reported to us that our clients have been told by Resort Advisory Group to
“stop paying their mortgage” despite their written agreement with Resort Advisory Group expressly stating that
the client (you) understand that you “are responsible to continue to make all payments” and that you are “still
responsible for the mortgage.” We are unclear what is actually going on, but this practice, if true, is a cause of great
concern.

WHERE THINGS STAND as related to your timeshare matter. When we first became aware of the conspiracy of
fraud taking place in the timeshare industry we were disgusted. It seemed that everyone involved in this
enterprise was making people promises they never intended to keep and doing everything they could to defraud
people of money which most cannot afford to pay. We committed to do everything we could to help people obtain
justice.

At the time, these developers were receiving a small number of cancellation requests; there were few who were
trying to help individuals defrauded by these timeshare companies. It was relatively straightforward – we would
perform our due diligence, gather the facts, prepare and submit a demand package, and engage the developer in
negotiations that typically resulted in a cancellation of the timeshare contract and often a refund of some portion of
the money paid by our clients.

Recently however, there has been an explosion of these “timeshare exit companies” who, often, are a group who
last week were selling timeshares and this week decided they could make more money convincing people they
could get them out of their timeshares – typically doing little more than telling people to stop making their
mortgage payments, with the knowledge that the developer will – at some point – cancel the timeshare contract for
failure of payment. The result is that now these developers face hundreds of cancellation demands every week.

The developers’ response has been to undertake a survival strategy and adopt a posture of denying, delaying, and
ignoring claims asserted by consumers. With increasing frequency, developers simply deny claims out of hand,
refuse to engage in meaningful settlement discussions, and – once we have demonstrated an unwillingness to go
away – unilaterally and without formal notice cancel the contract (the process may include the developer filing for
foreclosure if a deed is involved). It is a bitter pill to swallow and we do not enjoy being the bearer of such news.

In our opinion, the timeshare companies are engaged in a massive fraud. These companies have spent millions of
dollars to create the illusion that this is a real estate transaction. However, under the strictest definition of law, all

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they have done is create a debt on intangible property (timeshare vacation membership). People have essentially
purchased nothing more than the right to pay these companies unreasonable amounts for which they are supposed
to be able to enjoy the benefits of membership and vacation at their leisure. Technically, once in default, the “debt”
is extinguished by operation of law. Still, the developers continue making threats and claiming that all sorts of
harm will follow unless the account with the developer is brought current; they may take action further harming
these individuals including making derogatory remarks to the credit reporting agencies, wrongfully issuing tax
forms creating tax liabilities, and leaving people to pay enormous bills to credit card companies for “fees” charged
by the timeshare company.

While some find a benefit to owning a timeshare, too often this becomes an unbearable financial burden that
people are desperate to get out of. This fraud begins when they lock you in a ballroom for hours on end and
repeatedly tell you what a great deal they have for you and that you would be foolish to pass up this
opportunity. The timeshare companies then engage in a process of intimidation and attempt to overwhelm you,
beginning with lengthy contracts of as many as 100 pages, telling you that this timeshare will be yours forever and
will be passed down to your children after you are gone, and that they will come after you unless you pay
them. This may sound familiar.

It is a scam. These timeshare companies are in the business of getting you to continue paying them for something
you neither want nor, often, can afford. They rely on the fact that most people will never sue them because of the
cost and inconvenience involved. These companies are betting that people will be discouraged in the knowledge
that if they do sue and win at trial, it is unlikely the judgment will exceed the cost in attorney fees, time, and
hassle. Therefore, making it unlikely that a lawsuit is something that the developer will ever have to deal
with. Moreover, the traditional approach of submitting a demand and hoping the developer responds has become
little more than an exercise in futility; we face in the timeshare company an adversary who refuses to engage and
does not play by the rules. It is becoming a difficult but not impossible situation.

WHAT ARE YOU TO DO? We would like to discuss with you the status of your matter and explore the options
available at this point. There are a few things that can be done, which we would be happy to explain further. We
will continue to pursue your matter, as we agreed, but are concerned that the current approach will likely create
issues that are outside the scope of our representation and about which it is important that you are aware.

You may decide to consult with Resort Advisory Group. If you paid them a significant fee and continue to have
confidence in them, it is certainly reasonable for you to ask them what they are planning to do to help you with
your situation.

For the record, we have never nor will we ever ask you for money. We are probably the only ones in this whole
nightmare that can make that claim. Our only concern is that you are informed about your situation and that you
are making good decisions. We have found that when people are deceived or are not provided with complete
information they end up making bad decisions. It is our desire to help you, to answer any question you may have
about your situation, and to ensure that your interests are being represented.

Again, we are not aware of the extent of your relationship with Resort Advisory Group or the services they are
providing. Nothing that precedes may be true to your specific situation. In truth, we would hope that you are
completely satisfied with the services Resort Advisory Group is providing and that you see real value for the money
you have paid them. However, out of an abundance of caution, we want to make sure you have all the information
bearing on your situation and have you know that we will do everything in our power to continue assisting you.

We will follow whatever direction you provide. If you would like to dismiss this law firm, you only need to respond
to this email and inform us that is your desire. Otherwise, we would request that you contact our offices at your
earliest convenience to discuss where your matter stands and what further assistance we can provide.

Thank you.


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BRENT D. BARLOW, ESQ.
BARLOW and ASSOCIATES
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818.369.4432 local
818.887.0528 fax
Striving to be environmentally conscious, we avoid printing and limit communication to email as much as possible.




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